Case 2:24-cv-00218-LEW            Document 1       Filed 06/20/24      Page 1 of 105     PageID #: 1




                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MAINE


 ROBERT CARIGNAN on behalf of himself
 and all others similarly situated,

          Plaintiff,                                   Case No. 24-

    vs.

 PERMIAN RESOURCES CORP. F/K/A
 CENTENNIAL RESOURCE
 DEVELOPMENT, INC.; CHESAPEAKE
 ENERGY CORPORATION; CONTINENTAL
 RESOURCES INC.; DIAMONDBACK
 ENERGY, INC.; EOG RESOURCES, INC.;
 HESS CORPORATION; OCCIDENTAL
 PETROLEUM CORPORATION; and
 PIONEER NATURAL RESOURCES
 COMPANY,

          Defendants.


                          PLAINTIFF’S CLASS ACTION COMPLAINT


          Plaintiff Robert Carignan (“Plaintiff”) on behalf of himself and all others similarly

situated complains against Permian Resources Corporation (f/k/a Centennial Resource

Development, Inc.), Chesapeake Energy Corporation; Continental Resources Inc., Diamondback

Energy, Inc., EOG Resources, Inc., Hess Corporation, Occidental Petroleum Corporation, and

Pioneer Natural Resources Company (“Defendants”) as follows:

                                             Introduction

          1.      This action arises from Defendants’ conspiracy to coordinate, and ultimately

constrain, domestic shale oil production, which has had the effect of fixing, raising, and
Case 2:24-cv-00218-LEW         Document 1        Filed 06/20/24      Page 2 of 105      PageID #: 2




maintaining the price of retail gasoline (gasoline purchased by consumers at gas stations) in and

throughout the United States of America.1

       2.      Shale oil, also called “tight oil,” is a high-quality crude oil found between layers

of shale rock, impermeable mudstone, or siltstone that can be extracted, refined, and used to

produce gasoline, diesel fuel, and other commercial products sold in the U.S.

       3.      Shale oil is produced by fracturing the rock formations that contain the layers of

oil in a process known as hydraulic fracturing, or “fracking.” Today, shale oil comprises almost

two-thirds of the onshore production of crude oil in the United States.2

       4.      Shale oil, along with other crude oil, is sold to refineries. Refineries co-mingle

shale oil produced by Defendants with other shale oil, as well as crude oil extracted from

traditional drilling methods, then refine the crude oil into gasoline and other petroleum-based

products. Crude oil is the primary upstream input in gasoline.

       5.      The resulting gasoline is then transported to storage terminals, where it is stored

and blended prior to sale to gas stations for onward sale to members of the Class.




1
  Throughout this complaint, references to “gasoline” are to retail gasoline, including but not
limited to all grades and formulations sold to individual end-users at retail gasoline stations
throughout the U.S.
2
  “The U.S. Energy Information Administration (EIA) estimates that in 2022, about 2.84 billion
barrels (or about 7.79 million barrels per day) of crude oil were produced directly from tight-oil
resources in the United States. This was equal to about 66% of total U.S. crude oil production in
2022.” How Much Shale (Tight) Oil is Produced in the United States?, U.S. ENERGY 26 INFO.
ADMIN. (last updated Mar. 27, 2023), https://www.eia.gov/tools/faqs/faq.php?id=847&t=6.
Crude oil supply is measured by the number of “barrels” produced, each of which contains 42
gallons of crude oil. Daily oil production is measured in barrels per day, which is at times
abbreviated as bpd, but is also b/d or B/D. Production over longer periods is often measured in
millions of barrels, abbreviated as MMbbl.


                                                 2
Case 2:24-cv-00218-LEW         Document 1        Filed 06/20/24      Page 3 of 105      PageID #: 3




       6.      Gasoline is a critical commodity for American consumers. Approximately 40

million Americans fill up their vehicles every day at American gas stations.3 Gasoline purchases

account for approximately 5% of U.S. consumer household spending per year, with the average

car consuming approximately 500 gallons of gasoline each year.4

       7.      U.S. independent shale producers (“Independents”) are companies that primarily

focus on the exploration, development, and production of domestic shale resources. These

companies are distinct from large vertically integrated energy companies, like Chevron and

ExxonMobil (known as “supermajor(s)”), with diverse global operations encompassing the

exploration, production, refining, and distribution of various energy resources. For example, in

2019, only 7% of Chevron’s total global crude oil produced was from U.S. shale operations.5

       8.      Defendants are among the largest Independents. Independents traditionally act as

“swing producers” for the global oil market, with the ability to adjust shale oil production levels

rapidly in response to changes in market conditions and push, or “swing,” the price of crude oil.

       9.      The U.S. experienced record-high crude oil prices beginning on or around January

2021, continuing through the present. Basic principles of supply and demand dictate that in their




3
 Factors that impact gas prices, NACS (Feb. 28, 2024),
https://www.convenience.org/Topics/Fuels/The-Price-Per-Gallon.
4
 Jeff Lenard, Who Makes Money Selling Gas?, NACS (Nov. 12, 2021),
https://www.convenience.org/Media/conveniencecorner/Who-Makes-Money-Selling-Gas.
5
 Chevron to boost Permian oil production as demand for reliable energy grows, Chevron
Newsroom (June 16, 2022), https://www.chevron.com/newsroom/2022/q2/chevron-to-boost-
permian-oil-production-as-demand-for-reliable-energy-grows (Chevron produced 220,000
barrels of U.S. shale oil per day in 2019); 2019 supplement to the annual report, CHEVRON
CORP. (2020), https://www.chevron.com/-/media/shared-media/documents/annual-report-
supplement-2019.pdf, at 11 (Chevron’s total 2019 production was 3,058,000 barrels of oil
equivalents per day).


                                                 3
Case 2:24-cv-00218-LEW          Document 1       Filed 06/20/24      Page 4 of 105      PageID #: 4




role as swing producers, Defendants should have increased production to capitalize on this price

rise. Instead, Defendants collectively decided not to increase their U.S. shale oil production.

       10.     Defendants also cooperated and colluded with the Organization of the Petroleum

Exporting Countries (“OPEC”), the international cartel of large oil producing nations, who also

sought to raise oil prices through managing oil production during this period.

       11.     Between 2017 and 2023, Defendants met and communicated regularly with each

other, and with OPEC, to coordinate their collective oil output in response to market conditions.

Following these meetings, representatives from Defendants consistently made public statements

confirming these discussions and the exchange of confidential information. Specifically,

Defendants also confirmed that they discussed with each other and OPEC their production

strategies, future investment plans, and price targets. Likewise, when publicly discussing their

meetings with Defendants, OPEC officials praised the cooperative nature of their developing

relationship with Defendants.

       12.     From the time when the meetings between U.S. shale producers and OPEC began

in 2017 until the onset of the COVID-19 pandemic, worldwide oil prices and supply remained

relatively stable. In the early days of the COVID-19 pandemic, gasoline demand dropped

precipitously, sending a shock through the oil supply chain.

       13.     Gasoline demand, and thereby oil prices, recovered and ultimately began

increasing at a rapid rate in 2021. The increase in the price of crude oil following COVID-19 was

exacerbated by the Russian invasion of Ukraine in late February 2022, which led to sanctions

that largely sequestered Russian oil from the global market. This extended run of historically

high crude oil prices provided prime market conditions for agile swing producers like




                                                 4
Case 2:24-cv-00218-LEW            Document 1      Filed 06/20/24       Page 5 of 105      PageID #: 5




Defendants ‒ whose breakeven prices have never been lower and who operate in regions with a

wealth of profitable opportunities ‒ to aggressively increase production.

        14.     But Defendants did not take advantage of this market opportunity. Rather,

departing from their historical practice and rational independent self-interest, each Defendant

limited their domestic shale production growth.

        15.    Defendants’ agreement to limit their respective shale production volumes has had

the effect of fixing and/or stabilizing at an artificially high-level U.S. (and global) crude oil

prices, which in turn fixed and/or stabilized retail gasoline prices in the United States at an

artificially high level.

        16.    Defendants’ cartel is a per se unlawful restraint of trade under numerous state

antitrust and competition laws. Plaintiff and the Classes suffered substantial harm from the

supracompetitive prices they paid for retail gasoline for personal use as a direct and proximate

result of the cartel to constrain domestic production of shale oil in the United States. They bring

this suit to recover that loss.

                                              PARTIES

        17.    Plaintiff Robert Carignan is a citizen of Maine and resides in Portland. Mr.

Carignan purchased retail gasoline.

        18.    Defendant Permian Resources Corporation, known as Centennial Resource

Development (“Centennial”) during the relevant period, is a Delaware Corporation

headquartered in Midland, Texas. Centennial’s common stock is listed and traded on the New

York Stock Exchange under the trading symbol PR. Centennial is an oil and gas production

company that acquires and processes shale oil in Texas and New Mexico before selling the

resulting shale oil into the U.S. domestic market where it is refined and disseminated across the

country.


                                                   5
Case 2:24-cv-00218-LEW         Document 1        Filed 06/20/24      Page 6 of 105      PageID #: 6




       19.     Defendant Chesapeake Energy Corporation (“Chesapeake”) is an Oklahoma

Corporation headquartered in Oklahoma City, Oklahoma. Chesapeake’s common stock and

warrants to purchase common stock trade on the Nasdaq Stock Market under the trading symbols

CHK, CHKEW, CHKEZ, and CHKEL. Chesapeake is an oil and gas production company that

acquires and processes shale oil in Louisiana and Pennsylvania, before selling the resulting shale

oil into the U.S. domestic market where it is refined and disseminated across the country.

       20.     Defendant Continental Resources Inc. (“Continental”) is an Oklahoma

Corporation headquartered in Oklahoma City, Oklahoma. Continental common stock was listed

and traded on the New York Stock Exchange under the trading symbol CLR until the purchase of

the company by its founder Harold Hamm, on November 22, 2022, through a series of take-

private transactions with Omega Acquisition Inc. Continental is an oil and gas company that

acquires and processes shale oil in North Dakota, Montana, Oklahoma, Texas, and Wyoming,

before selling the resulting shale oil into the U.S. domestic market where it is refined and

disseminated across the country.

       21.     Defendant Diamondback Energy, Inc. (“Diamondback”) is a Delaware

Corporation headquartered in Midland, Texas. Diamondback’s common stock is listed and

traded on the Nasdaq Stock Market under the trading symbol FANG. Diamondback is an oil and

gas production company that acquires and processes shale oil in Texas, before selling the

resulting shale oil into the U.S. domestic market where it is refined and disseminated across the

country.

       22.     Defendant EOG Resources, Inc. (“EOG”) is a Delaware Corporation

headquartered in Houston, Texas. EOG’s common stock is listed and traded on the New York

Stock Exchange under the trading symbol EOG. EOG is an oil and gas production company that




                                                 6
Case 2:24-cv-00218-LEW          Document 1       Filed 06/20/24       Page 7 of 105      PageID #: 7




acquires and processes shale oil in North Dakota, Wyoming, Colorado, Oklahoma, Texas, New

York, Pennsylvania, and New Mexico, before selling the resulting shale oil into the U.S.

domestic market where it is refined and disseminated across the country.

       23.     Defendant Hess Corporation (“Hess”) is a Delaware Corporation headquartered in

New York, New York. Hess’s common stock is listed and traded on the New York Stock

Exchange under the trading symbol HES. Hess is an oil and gas production company that

acquires and processes shale oil in North Dakota, before selling the resulting shale oil into the

U.S. domestic market where it is refined and disseminated across the country. Hess also sells the

refined consumer gasoline across the United States.

       24.     Defendant Occidental Petroleum Corporation (“Occidental”) is a Delaware

Corporation headquartered in Houston, Texas. Occidental’s common stock and warrants to

purchase common stock are listed and traded on the New York Stock Exchange under the trading

symbols OXY and OXY WS, respectively. Occidental is an oil and gas production company that

acquires and processes shale oil in Colorado, Texas, and New Mexico, before selling the

resulting shale oil into the U.S. domestic market where it is refined and disseminated across the

country.

       25.     Defendant Pioneer Natural Resources Company (“Pioneer”) is a Delaware

Corporation headquartered in Irving, Texas. Pioneer’s common stock is listed and traded on the

New York Stock Exchange under the trading symbol PDX Pioneer is an oil and gas production

company that acquires and processes shale oil in Texas, before selling the resulting shale oil into

the U.S. domestic market where it is refined and disseminated across the country.

       26.     Each Defendant was a co-conspirator with the other Defendants and committed

overt acts in furtherance of the conspiracy alleged herein in the United States and in this District.




                                                  7
Case 2:24-cv-00218-LEW           Document 1        Filed 06/20/24      Page 8 of 105       PageID #: 8




       27.     Where Plaintiff ascribes an action to “Defendants,” unless stated otherwise, the

action is alleged to have been taken by each of Centennial, Chesapeake, Continental,

Diamondback, EOG, Hess, Occidental, and Pioneer.

       28.     “Defendants,” as used herein, refers to and includes each of the named

Defendants’ predecessors, successors, parents, wholly-owned or controlled subsidiaries or

affiliates, employees, officers, or agents.

       29.     Defendants are also liable for acts done in furtherance of the alleged conspiracy

by their officers, directors, agents, partners, employees, representatives, affiliates, subsidiaries,

and companies they acquired through mergers and acquisitions.

       30.     At all relevant times, other known and unknown corporations, individuals, and

entities willingly conspired with Defendants in their unlawful and illegal conduct. Numerous

individuals and entities participated actively during the course of, and in furtherance of, the

scheme described herein. The individuals and entities acted in concert through, amongst other

things, joint ventures, and by acting as agents for principals in order to advance the objectives of

the scheme to benefit Defendants and themselves through the manipulation of shale oil

production and crude oil prices.

       31.     Whenever reference is made to any act of any organization, corporation, or other

business entity, the allegation means that the entity engaged in the act by or through its officers,

directors, agents, partners, employees, or representatives while they were actively engaged in the

management, direction, control, or transaction of the corporation’s business or affairs.

                                   JURISDICTION & VENUE

       32.     This action arises under Section 1 of the Sherman Act (15 U.S.C. §1), and Section

16 of the Clayton Act (15 U.S.C. §26), as well as the antitrust, fair competition, and consumer




                                                   8
Case 2:24-cv-00218-LEW           Document 1           Filed 06/20/24   Page 9 of 105    PageID #: 9




protection laws of various states. This action is for compensatory damages, treble damages, costs

of suit, injunctive relief, and reasonable attorneys’ fees.

        33.     This Court has subject matter jurisdiction over Plaintiff’s claim under Section 16

of the Clayton Act, 15 U.S.C. § 26, and under 28 U.S.C. §§ 1331, 1332(d), 1337(a), and 1367.

        34.     This Court has diversity jurisdiction over this action under 28 U.S.C. §1332(d)

because this is a class action wherein the amount of controversy exceeds the sum or value of $5

million, exclusive of interest and costs, there are more than 100 members in the proposed class,

and Plaintiff, resident of Maine, is a citizen of a state different from Defendants, all of whom are

either incorporated in Delaware or Oklahoma and headquartered in Oklahoma, Texas, or New

York.

        35.     This Court also has personal jurisdiction over all Defendants, and venue in this

District is proper, under the combination of 15 U.S.C. § 22 and 28 U.S.C. § 1391(b), (c), and (d).

        36.     Defendants’ activities were within the flow of and were intended to and did have

a substantial effect on, interstate commerce of the United States. Defendants’ products and

services are sold in the flow of interstate commerce.

        37.     By reason of the unlawful activities alleged herein, Defendants’ unlawful

activities substantially affected commerce throughout the United States, causing injury to

Plaintiff and the geographically dispersed class members. Defendants, directly and through their

agents, engaged in activities affecting all states.

        38.     Defendants’ conspiracy, wrongful anticompetitive conduct, and substantial

anticompetitive effects described herein proximately caused injury to Plaintiff and members of

the Class.

                                   FACTUAL ALLEGATIONS

        A.      Organization of the Petroleum Exporting Countries (“OPEC”)


                                                      9
Case 2:24-cv-00218-LEW           Document 1      Filed 06/20/24      Page 10 of 105      PageID #:
                                                10



          39.   OPEC, an intergovernmental organization made up of nations who purport to

benefit from sovereign immunity to the Sherman Act,6 controls close to 40% of the world’s oil

production. Historically, OPEC exerted market power over global oil prices through coordinating

its members’ respective production levels.7 Non-member nations historically keyed their oil

production levels off OPEC guidance to benefit from the oil prices targeted by OPEC; a classic

“umbrella pricing” situation.8

          40.   Historically, Saudi Arabia acted as OPEC’s (and thereby the global) swing

producer – producers known for their ability to adjust production levels relatively rapidly in

response to changes in market conditions and influence crude oil prices – leveraging its status as

the member with the largest production capacity to become OPEC’s de facto leader.9




6
  Mamdouh G. Salameh, OPEC is an Important Energy Policy Tool to Keep Oil Markets Stable,
I.A.E.E. ENERGY FORUM,                  Vol. 28,         Issn 1944-3188        (Feb. 2019),
https://www.iaee.org/documents/2019EnergyForum1qtr.pdf, at 17 (OPEC’s stated mission is to
“‘coordinate and unify the oil policies of its member countries and ensure the stabilization of oil
markets . . . .’ The organization is also a significant provider of information about the
international oil market. The current OPEC members are Algeria, Angola, Ecuador, Equatorial
Guinea, Gabon, Iran, Iraq, Kuwait, Libya, Nigeria, Qatar, the Republic of Congo, Saudi Arabia
(the de facto leader), UAE and Venezuela.”).
7
 Anshu Siripurapu & Andrew Chatzky, OPEC in a Changing World, COUNCIL ON FOREIGN
RELS. (Mar. 9, 2022), https://www.cfr.org/backgrounder/opec-changing-world.
8
  Salameh, supra n.6 (“In the 1980s, OPEC began setting production quotas for its member
nations; generally, when the quotas are reduced, oil prices increase. . . . Since the 1980s,
representatives from Egypt, Mexico, Norway, Oman, and Russia and other oil-exporting nations
have attended many OPEC meetings as observers. This arrangement serves as an informal
mechanism for coordinating policies.”).
9
    Id.


                                                10
Case 2:24-cv-00218-LEW          Document 1        Filed 06/20/24     Page 11 of 105      PageID #:
                                                 11



       41.     In December 2016 OPEC expanded its cartel, signing the first of several

agreements with 10 other oil-producing nations (most notably Russia, whose production rivaled

that of Saudi Arabia), forming what is now known as “OPEC+.”10

       42.     This long-resisted expansion of OPEC was done out of necessity.11 By 2014,

however, OPEC had lost its ability to exert complete control over global oil prices, thanks to the

arrival of a new global oil player: the shale oil producer.

       B.      Shale Oil Producers Establish a “New World Order”

       43.     Fracking changed everything. Equal parts controversial and successful upon its

introduction in the early 2000’s, within eight years of the first commercial shale operation

coming online in Texas in 2002, U.S. shale producers were pumping enough shale oil to reverse

a 35-consecutive-year trend of declining U.S. domestic crude oil production. The seven years




10
   Id. at 18 (In 2017, “Saudi Arabia was forced to eventually discard its [price war with U.S.
Independents] strategy and engineer with Russia an OPEC/non-OPEC production cut agreement”
in an attempt to regain control of crude oil prices. The agreement was extended through 2018
and converted into a “permanent mechanism for cooperation between OPEC and Russia in what
has been dubbed as OPEC+.”). Throughout this complaint, references to OPEC from December
2016 onwards encompass OPEC+.
11
  Guy Laron, The OPEC+ Puzzle: Why Russian-Saudi Cooperation Starts – and Stops – with
Oil Prices, THE WILSON CENTER (Jan. 19, 2023), https://www.wilsoncenter.org/article/opec-
puzzle-why-russian-saudi-cooperation-starts-and-stops-oil-prices (despite decades of tension and
bad blood between Russia and Saudi Arabia, “[t]here was no way for OPEC to deal with the
growing market power of the US without cooperating with the Russians”); see also Harry First &
Darren Bush, The U.S. Can Take on the Oil Cartel that Enables Putin, and Win, THE N.Y.
TIMES (June 3, 2022), https://www.nytimes.com/2022/06/03/opinion/gas-prices-russia-
opec.html (Antitrust specialists have concluded that “as more countries joined or allied
themselves with the [OPEC] cartel, it has only become more effective at controlling the output of
what would otherwise have been competing oil producers.”).


                                                 11
Case 2:24-cv-00218-LEW           Document 1        Filed 06/20/24      Page 12 of 105       PageID #:
                                                  12



starting from 2008 represented the fastest increase in domestic crude oil production in U.S.

history ‒ the “Shale Revolution.”12

       44.     Shale production posed a unique problem for OPEC. Unlike the supermajors, who

typically invest in decades-long traditional drilling projects that require substantial lead time and

infrastructure construction before production begins, shale oil wells: (a) require smaller capital

commitments; (b) can be drilled in two to four weeks;13 (c) can be brought online within months;

and (d) allow for production to be comparatively front-loaded. Consequently, production of

crude oil from shale wells is more responsive to changing prices and real-time market conditions

than traditional drilling methods used by supermajors. According to market analysts, “the shale

sector’s ability to boost production – and to scale back – relatively quickly is its calling card,”14

which makes U.S. shale oil, “as close to inventory-on-demand as oil ever comes.”15

       45.     But Independents are like the supermajors in one important respect that is

problematic for OPEC: they are subject to the Sherman Act. This means that while U.S. shale

would come to produce as much oil as the largest OPEC and OPEC+ nations,16 it was not a


12
  Robert Rapier, How The Shale Boom Turned the World Upside Down, FORBES (Apr. 21,
2017), https://www.forbes.com/sites/rrapier/2017/04/21/how-the-shale-boom-turned-the-world-
upside-down/?sh=497a463b77d2.
13
   Ryan Moore, The Numbers: The Permian Excels, PHEASANT ENERGY (last updated Sept.
7, 2023), https://www.pheasantenergy.com/the-numbers-the-permian-excels (Defendant Pioneer,
the largest acreage holder in the Midland Basin of the Permian, reported that as of 2018, it was
taking Pioneer approximately 15 to 20 days to drill a well down 10,000 feet and horizontal out to
20,000 feet).
14
  Liam Denning, Shale Companies Say They Can’t Drill More. Even When There’s a War?,
BLOOMBERG (Feb. 28, 2022), https://www.bloomberg.com/opinion/articles/2022-02-28/shale-
companies-say-they-can-t-drill-more-even-when-there-s-a-war.
15
  Steve LeVine, Oil Hasn’t Bottomed out, so Trade Now at Your Own Peril, QUARTZ (Feb. 10,
2015), https://qz.com/341884/oil-hasnt-bottomed-out-so-trade-now-at-your-own-peril.
16
 By 2018, the United States eclipsed Saudi Arabia and Russia as the largest oil producer in the
world. Devin Krishna Kumar, U.S. expected to end 2018 as world's top oil producer: EIA,



                                                  12
Case 2:24-cv-00218-LEW         Document 1       Filed 06/20/24      Page 13 of 105      PageID #:
                                               13



monolith capable of making industry-wide production decisions. Rather, as a boon to gasoline

consumers like Plaintiff and members of the proposed Classes, U.S. shale producers were a

group of relatively smaller producers, bound by law to compete with each other, and OPEC.

       46.     So U.S. shale’s arrival on the global oil scene in the early-to-mid-2010s was a

nightmare for OPEC. The U.S. shale movement was dubbed “Cowboyistan”17 in the industry for

Independents’ “drill-first, ask-questions-later” business model.18 A “new oil order” had

emerged.19 The aggressive competition of U.S. shale producers usurped the Saudi swing

producer role,20 and saw U.S. domestic production erode OPEC-set cartel price premiums.

       C.      Cowboyistan Must Die: the 2014-2016 “OPEC Price War”




REUTERS (Dec. 11, 2018), https://www.reuters.com/article/us-usa-oil-eia-outlook/u-s-expected-
to-end-2018-as-worlds-top-oil-producer-eia-idUSKBN1OA21D.
17
   Christopher Helman, Welcome to Cowboyistan: Fracking King Harold Hamm’s Plan for U.S.
Domination of Global Oil, FORBES (Mar. 9, 2015),
https://www.forbes.com/sites/christopherhelman/2015/03/09/welcome-to-cowboyistan-fracking-
king-harold-hamms-plan-for-u-s-domination-of-global-oil/?sh=bc9df884ed2.
18
   Barney Jopson, Fracking: The Energy revolution that shook the world, FIN. TIMES (May 21
6, 2015), https://www.ft.com/content/6fab1192-f30d-11e4-a979-00144feab7de.
19
  Derek Brower and Myles McCormick, What the End of the US Shale Revolution Would Mean
for the World, FIN. TIMES (Jan. 15, 2023), https://www.ft.com/content/60747b3b-e6ea-47c0-
938d-af515816d0f1.
20
   Hailey Lee, Why OPEC’s Losing Its Ability to Set Oil Prices, CNBC (Oct. 27, 2014),
https://www.cnbc.com/2014/10/27/us-shale-replaces-opec-as-leading-swing-producer-
goldman.html (U.S. shale’s spare capacity ‒ the amount of crude a country is able to produce in
30 days in case of an emergency ‒ was almost four times that of Saudi Arabia’s); David
Livingston & Eugene Tan, Shale’s True Contribution to the Oil Market, CARNEGIE
ENDOWMENT FOR INT’L PEACE (July 9, 2015),
https://carnegieendowment.org/2015/07/09/shale-s-true-contribution-to-oil-market-pub-60659
(“consensus has developed that Saudi Arabia has surrendered its role as de facto manager of the
world oil market to U.S. shale oil producers” because “shale wells take less time to drill and
complete than comparatively larger conventional oil projects, which require years and many
millions of dollars to move from planning into first production”).


                                                13
Case 2:24-cv-00218-LEW          Document 1       Filed 06/20/24      Page 14 of 105      PageID #:
                                                14



       47.     As sovereign nation-states with GDPs (and, in some cases, currencies) heavily

reliant on crude oil prices, OPEC was not about to willingly cede the pricing power OPEC had

held over global oil prices for a half-century to U.S. shale producers.

       48.     Perhaps underestimating the willingness of American companies to flaunt the

Sherman Act, or perhaps the result of a rebuffed invitation(s) not yet publicly known, at some

point in 2014, OPEC determined Cowboyistan could not be bought and had to go.

       49.     Consequently, despite a global oversupply of crude oil, in mid-2014 OPEC made

a deliberate long-term choice to maintain, rather than reduce, its production levels to win back

the market share it had lost to Independents, and to push oil prices to a level that would render

U.S. shale oil no longer economically viable.21 This two-year period of open global competition,

dubbed within the industry as the “OPEC Price War,” had begun:




21
   Siripurapu & Chatzky, supra n.7; Javier Blas, Wall Street is Finally Going to Make Money Off
the Permian, BLOOMBERG (Apr. 24, 2023),
https://www.bloomberg.com/opinion/articles/2023-04-24/higher-oil-prices-means-wall-street-s-
shale-investments-will-finally-pay-off (In February 2016, Saudi Arabia’s Oil Minister Al-Naimi
warned U.S. shale producers, “[l]ower costs, borrow cash, or liquidate.”).


                                                 14
Case 2:24-cv-00218-LEW          Document 1       Filed 06/20/24      Page 15 of 105      PageID #:
                                                15



       50.     The OPEC Price War dragged on for years for two reasons. First, shale

production was a brand-new industry where technological advancements and accumulating

experience was driving breakeven points lower,22 allowing Independents to exploit less

productive shale plays profitably.23 Second, the U.S. legal structure (including corporate and

bankruptcy law), encourages business formation and risk-taking, making business failure less

economically devastating to the individuals involved.

       51.     As a result, by implementing cost-cutting measures and focusing on the most

productive shale plays to remain competitive in the lower-price environment, many U.S. shale

producers, including Defendants, continued to drill at consistent levels despite the price drop

caused by OPEC’s Price War.24


22
   In the beginning of 2014, “Rystad Energy estimated the average breakeven price for tight oil
to be $82 per barrel,” but by 2018, the average breakeven price reported had dropped to $47 per
barrel, and by 2021, $37 per barrel. See Rystad Energy: As falling Costs Make New Oil Cheaper
to Produce, Climate Policies May Fail Unless they Target Demand, ROGTEC MAGAZINE
(Nov. 17, 2021), https://www.rogtecmagazine.com/rystad-energy-as-falling-costs-make-new-oil-
cheaper-to-produce-climate-policies-may-fail-unless-they-target-demand/; Maitham A. Rodhan,
The Effect of US Shale Oil Production on Local and International Oil Markets, 13 INT’L J. OF
ENERGY ECONS. & POLICY 4               (July 2023),
https://econjournals.com/index.php/ijeep/article/view/14455 (“This continuous decrease in the
break-even price of shale oil made the US shale oil industry more flexible to face fluctuations in
oil prices” and “[d]espite the drop in prices from about $100 a barrel in 2014 to $64 a barrel in
2019, shale oil production has doubled by 100% during this period.”).
23
   A shale oil “play” refers to a specific geographic area or region where shale formations contain
significant amounts of oil that can be economically extracted. The top three shale oil plays in the
U.S. are the Permian Basin in Texas and New Mexico (40% of all U.S. crude production in
2022), the Bakken Formation in North Dakota and Montana, and Eagle Ford in Texas.
Technological advancements have made more shale oil plays economically viable over time.
24
  Steven Mufson, Is the Oil World Big Enough for Two Swing Producers?, THE WASH. POST
(Sept. 29, 2016), https://www.washingtonpost.com/business/economy/is-the-oil-world-big-
enough-for-two-swing-producers/2016/09/29/ce4e96f0-85f7-11e6-a3ef-f35afb41797f_story.html
(noting that “the companies in [the U.S. shale industry] are ready to add production every time
the price starts creeping up” and attributing to Defendant Pioneer CEO Scott Sheffield a promise
that if oil prices moved above $60 a barrel, the U.S. Shale industry would respond by ramping up
production).


                                                15
Case 2:24-cv-00218-LEW           Document 1       Filed 06/20/24      Page 16 of 105        PageID #:
                                                 16



           52.   Yet, the OPEC price war consolidated the U.S. shale industry, causing dozens of

smaller Independents to fail25 and larger Independents, like Defendants, to rally together in the

face of a shared adversary.

           D.    If you Can’t Beat ‘Em: Cowboyistan Takes a Seat at the “Table on Pricing”


           53.   Weary after years of low prices,26 OPEC changed tactics. First, as noted above, in

December 2016, it struck a deal with 10 non-OPEC oil producing nations to form OPEC+.

Having brought one enormous potential competitor (Russia) into the fold, OPEC turned its

attention to Cowboyistan.

           54.   Unable to beat Independents in the free market, OPEC started a years-long

campaign to bring them into the cartel.

           55.   Independents, too, were weary of the price war. As reported by MarketWatch on

September 8, 2016, “Shale-oil baron [and Defendant Continental CEO] Harold Hamm thinks

major crude-oil producers need to settle on a plan to stabilize oil prices sooner than later.”27

Hamm, “calling for a freeze of production . . . said it is ‘high time’ for Russia and the

Organization of the Petroleum Exporting Countries [OPEC] to forge a pact that would put an end

to slide in crude oil prices.”28 Hamm and Defendants had gained leverage and the respect of



25
  Matt Egan, OPEC tried to put this US shale oil driller out of business. It ‘backfired’, CNN
BUSINESS (May 12, 2017), https://money.cnn.com/2017/05/12/investing/shale-oil-ceo-
opec/index.html.
26
  Mufson, supra n. 24 (as a result of the ongoing price war, OPEC “regained some market share
and put a floor under prices. But its success has been slow, limited and remains fragile. And the
price [$45-$55 a barrel at that time] is still half of where they’d like it to be.”).
27
  Mark DeCambre, Harold Hamm Says It Is ‘High Time’ for an OPEC Pact to Freeze Output,
MARKETWATCH (Sept. 8, 2016), https://www.marketwatch.com/story/trumps-potential-
energy-czar-says-its-high-time-for-an-opec-pact-to-freeze-output-2016-09-08.
28
     Id.


                                                 16
Case 2:24-cv-00218-LEW          Document 1      Filed 06/20/24     Page 17 of 105       PageID #:
                                               17



OPEC during the price war. Now, Hamm was signaling to OPEC that Continental and the other

Defendants were willing to play ball with OPEC.

           56.   Shortly thereafter, in early 2017, Defendants and members of OPEC began

meeting and sharing dinners together.29 Many of these meetings took place on the sidelines of the

CERAWeek Conference, held annually in Houston, Texas.

           57.   March 6-10, 2017 – Houston, TX, USA (CERAWeek Conference): Former

Nigerian politician and then-OPEC General Secretary Mohammed Barkindo “dined with about

two dozen U.S. shale executives on the sidelines of [the 2017] CERAWeek conference,

including Scott Sheffield of [Defendant] Pioneer Natural Resources, Co., John Hess of

[Defendant] Hess Corp., Robert Douglas Lawler of [Defendant] Chesapeake Energy Corp. and

Tim Leach of Concho Resources Inc.”30 OPEC had purportedly never before met with U.S. shale

producers,31 leading to reporters describing the meeting as “unusual.”32 Meetings during the

March 2017 CERAWeek Conference “opened a communication channel between the shale

companies and OPEC countries.”33 Scott Sheffield of Defendant Pioneer stated, “I’m seeing a




29
  Liz Hampton, As Oil Prices Soar, U.S. Shale, OPEC in no Rush to Resume Price War,
REUTERS (Mar. 10, 2022), https://www.reuters.com/business/energy/ceraweek-oil-prices-soar-
us-shale-opec-no-rush-resume-price-war-2022-03-10/#:~:text=Energy-
,As%20oil%20prices%20soar%2C%20U.S.%20shale%2C%20OPEC%20in%20no,rush%20to%
20resume%20price%20war&text=March%2010%20(Reuters)%20%2D%20U.S.,rush%20to%20
rapidly%20boost%20production. (OPEC began hosting regular dinners and events in 2017 “to
better understand private sources of financing that allowed new companies to emerge” and
“[o]ver time, the dinners grew more collegial.”).
30
  Javier Blas & Grant Smith, OPEC Head to Meet with U.S. Shale Producers for Dinner Next
Week, BLOOMBERG (Feb. 27, 2018), https://www.bloomberg.com/news/articles/2018-02-
27/opec-head-to-meet-u-s-shale-oil-producers-for-dinner-next-week.
31
     Id.
32
     Id.
33
     Id.


                                               17
Case 2:24-cv-00218-LEW         Document 1       Filed 06/20/24      Page 18 of 105      PageID #:
                                               18



series of meetings where OPEC is reaching out and spending more time with US [I]ndependents

than I have seen over my entire career.”34

          58.    Indeed, CERAWeek 2017 served as a channel for OPEC’s Secretary General to

“garner views and opinions from other senior oil industry executives” in “bi-lateral” meetings

with shale executives, according to Defendant Hess’s CEO, John Hess.35 Following a dinner with

OPEC officials, Hess reported to Bloomberg, “It was a very good exchange of information and

views about oil . . . I really commend the OPEC Secretary General for outreach. It was a good

talk.”36 OPEC Secretary General Barkindo confirmed everyone was on the same page regarding

the need to collectively work to achieve price stability following the meeting, because “no-one

wants to see a repeat of 2015 and 2016.”37

          59.    During CERAWeek 2017, OPEC and the U.S. shale producers “agreed in

principle that the market should be better balanced and lower inventories would be beneficial to

everyone . . . [but] shale producers signaled they weren’t ready to give up on the growth they see

ahead,” or at least not yet.38 Shortly after the meeting, Saudi Arabia’s Energy Minister Khalid

Al-Falih warned U.S. shale producers that if they wanted to collaborate, there would be no “free

rides” on OPEC production cuts, and they must be ready to pull their weight when the time


34
  David Wethe, Oil to Hit $40 if OPEC Fails to Expand Cuts, Pioneer Says, BLOOMBERG,
(Mar. 7, 2017), https://www.bloomberg.com/news/articles/2017-03-07/pioneer-s-sheffield-sees-
40-oil-if-opec-doesn-t-extend-cuts?embedded-checkout=true#xj4y7vzkg.
35
   CERAWeek 2017: Encouragement & engagement, 47 OPEC BULLETIN 2, (Mar./Apr. 2017),
https://docplayer.net/55519391-Vienna-austria-save-the-date-june-hofburg-palace-vienna-
austria.html, at 16.
36
  Javier Blas, OPEC Said to Break Bread with Shale in Rare Show of Détente, BLOOMBERG
(Mar. 7, 2017), https://www.bloomberg.com/news/articles/2017-03-07/opec-said-to-break-bread-
with-shale-in-rare-show-of-detente.
37
     OPEC BULLETIN, supra n.35, at 15.
38
     Blas, supra n.36.


                                                18
Case 2:24-cv-00218-LEW           Document 1      Filed 06/20/24     Page 19 of 105      PageID #:
                                                19



comes.39 Put another way, OPEC told U.S. shale producers that OPEC expected Independents to

work together and coordinate their production cuts alongside OPEC.

           60.   Later that year OPEC Secretary General Barkindo told reporters that Defendants

were “beginning to ask questions about how to proceed [alongside OPEC] in a more responsible

manner.”40 Barkindo explained that he understood, from a meeting with executives of

Defendants Hess and Continental Resources during the CERAWeek Conference, that “[t]here is

a general understanding that this downturn [caused by the price war] was not in the interest of

anybody” and “[a]s much as we felt the pinch so did they.”41

           61.   March 5, 2018 – Houston, TX, USA (CERAWeek Conference): In February

2018, discussing plans to meet with U.S. shale executives for the second year in a row at the

upcoming March 2018 CERA Week conference, Barkindo explained, “[i]t’s a fulfillment of our

common desire to continue the dialogue as agreed last year on the sidelines of CERAWeek.”42

Barkindo explained that OPEC and the U.S. shale industry agreed at their first meeting in 2017,

that they had a “shared responsibility” towards the oil markets.43 The 2018 CERAWeek dinner

between OPEC members and U.S. shale producers, including Defendants, was organized to




39
  Ron Bousso, Exclusive - Saudis Tell U.S. Oil: OPEC Won’t Extend Cuts to Offset Shale -
Sources, REUTERS (Mar. 9, 2017), https://www.reuters.com/article/us-ceraweek-saudi-
shale/exclusive-saudis-tell-u-s-oil-opec-wont-extend-cuts-to-offset-shale-sources-
idUSKBN16G2TJ.
40
  Anjli Raval, OPEC Secretary General: ‘No Doubt’ Oil Market is Re-Balancing, FIN. 25
TIMES (Oct. 19, 2017), https://www.ft.com/content/89ddcf13-f338-315a-99ba-366256c7266a.
41
     Id.
42
     Blas & Smith, supra n.30.
43
     Id.


                                                19
Case 2:24-cv-00218-LEW          Document 1       Filed 06/20/24      Page 20 of 105      PageID #:
                                                20



“further explore the mechanic of achieving our common objective” of stable production volumes

and prices, per Barkindo.44

           62.   On March 5, 2018, OPEC officials met with U.S. shale executives at Houston’s

“The Grove” restaurant, during which Secretary General Barkindo gave a speech to dinner

attendees. Afterwards, Defendant Pioneer’s then-CEO Tim Dove summarized Barkindo’s speech

to a reporter as an exchange of OPEC’s forward-looking views on the oil market: “his main

message was that [OPEC] believe[s] very strongly that demand is going to be significant moving

forward in terms of growth.” Defendant Centennial’s CEO, Mark Papa described the speech as

“a statement that everyone will work together to make sure the oil market is well-supplied and

everyone is happy to be working together.”45

           63.   OPEC representatives, including Gabriel Mbaga Obiang Lima, Equatorial

Guinea’s petroleum minister, described the meeting between OPEC and U.S. shale executives as

much more than generalizations, with the key takeaway being a shared commitment to exchange

confidential production information: “The key thing is that information is shared about our

projections; it really helps everybody . . . the important thing is to know how much they [U.S.

shale] are investing and their projections because usually they have good statistics.”46 Lima

explained that, by sharing this information, “[w]hat we are doing is avoiding volatility,” or put




44
     Id.
45
  Ernest Scheyder and Ron Bousso, CERAWEEK-U.S. Shale and OPEC Share Steak in Uneasy
Truce at Houston Dinner, REUTERS (Mar. 7, 2018), https://www.reuters.com/article/ceraweek-
energy-opec-shale/rpt-%20ceraweek-u-s-shale-and-opec-share-steak-in-uneasy-truce-at-houston-
dinner-idUKL2N1QP05R.
46
     Id.


                                                20
Case 2:24-cv-00218-LEW           Document 1        Filed 06/20/24      Page 21 of 105       PageID #:
                                                  21



another way – coordinating production decisions to impact the price of crude oil rather than

allowing market forces to dictate outcomes.47

           64.   Nigerian Oil Minister and OPEC representative Emmanuel Ibe Kachikwu agreed

that it was time for U.S. shale to “take some responsibilities in terms of stability of oil prices.”48

Indeed, Secretary General Barkindo confirmed that OPEC and the U.S. shale executives “had a

very open, frank and lively conversations on the current state of the cycle and we also compared

notes from our experiences during these cycles, how we should proceed going forward. I was

very surprised by the high-level of turnout, as well as the interest they [U.S. shale executives]

have shown in continuing this energy dialogue.”49 Barkindo explained that OPEC and

Defendants “compared notes on our experiences in this cycle [i.e., the recent price war] which

everyone agreed was the most injurious.”50

           65.   As one shale executive, who insisted on remaining anonymous, described it to

Reuters, Cowboyistan had parlayed their successful price-war resistance into a seat at OPEC’s

“table on pricing.”51




47
     Id.
48
   Ernest Sheyder, Nigeria Prime Minister says majors in shale, OPEC should keep crude price
stable, REUTERS (Mar. 5, 2018), https://www.reuters.com/article/us-ceraweek-energy-
nigeria/nigeria-minister-says-majors-in-shale-opec-should-keep-crude-price-stable-
idINKBN1GH347.
49
   OPEC bulletin Special Edition: OPEC international energy dialogues, OPEC (May 9, 2018),
https://www.opec.org/opec_web/static_files_project/media/downloads/publications/OB022019.p
df, at 51.
50
  Patti Domm, OPEC Wants to Take Its Relationship with US Shale Producers to the Next Level,
CNBC (Mar. 6, 2018), https://www.cnbc.com/2018/03/06/opec-wants-to-take-its-relationship-
with-us-shale-producers-to-the-next-level.html.
51
  Alex Lawler & Ernest Scheyder, OPEC to Meet with U.S. Shale Firms in Houston on Monday:
Sources, REUTERS (Feb. 27, 2018), https://www.reuters.com/article/us-oil-opec-usa/opec-to-
meet-with-u-s-shale-firms-in-houston-on-monday-sources-idUSKCN1GB2KP.


                                                  21
Case 2:24-cv-00218-LEW          Document 1       Filed 06/20/24     Page 22 of 105      PageID #:
                                                22



           66.   In the wake of the 2018 conference, Defendant Continental’s CEO Harold Hamm

“appeared . . . to be trying to reach a more conciliatory tone with OPEC producers” and, in May

2018, even “attended a board meeting of Saudi Aramco, the oil producer controlled by OPEC’s

largest member, Saudi Arabia.”52

           67.   June, 2018 – Vienna, Austria (7th OPEC International Seminar): Following the

CERAWeek 2018 dinner, Secretary General Barkindo invited U.S. shale officials to join him at

an OPEC summit in Vienna in June 2018.53 Defendant’s executives Scott Sheffield (Pioneer) and

John Hess (Hess) attended the June 2018 OPEC International Seminar in Vienna, Austria. At the

event, Sheffield spoke for all Defendants when he said, “[t]hey [OPEC] need to put together

some kind of deal to phase into the market. None of us want $80 to $100 [per barrel] oil, that’s

too high. There’s a sweet spot between $60 and $80.”54 Sheffield urged, “OPEC needs to fulfill

its duty.”55

           68.   Critically, the 2018 OPEC summit in Austria was the first time Defendants

admitted publicly to more than listening to OPEC during these meetings. Sheffield admitted

speaking to the OPEC panel about Defendants’ and OPEC’s volumes, and the effects on global

oil prices: “My message yesterday as I spoke to the panel was that it’s important that OPEC




52
  Ernest Scheyder, Continental Resources CEO Harold Hamm pulls out of OPEC meeting,
REUTERS via YAHOO!NEWS (June 18, 2018), https://www.yahoo.com/news/continental-
resources-ceo-harold-hamm-162200046.html.
53
     Domm, supra n.50.
54
  Ernest Scheyder, U.S. Shale Executive Pushes OPEC to Gradually Boost Output, REUTERS
(June 20, 2018), https://www.reuters.com/article/oil-opec-pioneer-natl-rsc-idINKBN1JG2OB.
55
     Id.


                                                22
Case 2:24-cv-00218-LEW           Document 1       Filed 06/20/24     Page 23 of 105     PageID #:
                                                 23



increases production somewhat to make up for the difference . . . . If they don’t we are going to

see $100 oil or higher.”56

           69.   Sheffield delivered a message, and apparently got one in return – two days before

OPEC’s June 22, 2018, production negotiation, Sheffield predicted to Bloomberg the exact

amount of OPEC’s production change.57

           70.   January, 2019 – Davos, Switzerland (World Economic Forum): In January 2019

at the Davos World Economic Forum, OPEC’s Secretary General sat on a panel with John Hess,

CEO of Defendant Hess Corp, Vicki Hollub, CEO of Defendant Occidental, and Dan Yergin,

Vice Chairman of IHS Markit.58

           71.   According to Reuters, Hess and Hollub both “said that [the] growth of U.S. shale

oil output would slow” in the near future.59 OPEC’s Secretary General addressed the current oil

market dynamics at Davos, highlighting the importance of OPEC+ in helping stabilize the oil

market over the past two years following the price war.60 He also underscored that market




56
  Bloomberg Daybreak: Americas, Pioneer Chairman Sees an OPEC Increase of Up to 600,000
B/D, BLOOMBERG (June 21, 2018), https://www.bloomberg.com/news/videos/2018-06-
21/pioneer-chairman-sees-an-opec-increase-of-up-to-600-000-b-d-video.
57
   Compare id. (Sheffield: “The soft number will be around 5-600,000 [bpd], they might
announce 1 million . . . and that will phase in over the next few months.”) with Rania El Gamal,
et al., OPEC agrees modest hike in oil supply after Saudi and Iran compromise, REUTERS
(June 22, 2018), https://www.reuters.com/article/us-oil-opec/opec-agrees-modest-hike-in-oil-
supply-after-saudi-and-iran-compromise-idUSKBN1JI0OG/ (“Saudi Arabia said the move
[increase in production] would translate into a nominal output rise of around 1 million barrels
per day (bpd), or 1 percent of global supply. Iraq said the real increase would be around 770,000
bpd[.]”).

58
     IHS performs market analyses on behalf of OPEC member nations.
59
  Dmitry Zhdannikov, U.S. Oil Firms Tell OPEC Their Growth Will Slow, REUTERS (Jan. 23,
2019), https://www.reuters.com/article/uk-davos-meeting-opec-usa-idUKKCN1PH1TG.
60
     Id.


                                                 23
Case 2:24-cv-00218-LEW           Document 1      Filed 06/20/24      Page 24 of 105       PageID #:
                                                24



uncertainties and volatility are detrimental to industry investments, and that continuing joint and

collaborative efforts among producers were crucial to ensure timely investments.61

           72.   These comments were praised by Hess, who said that “the Secretary General of

OPEC, as well as OPEC Members, play a very important role in stabilizing markets for oil, so

those efforts are to be recognized.”62 Referencing OPEC’s relationships with Defendants,

Barkindo emphasized, “[w]e have to continue to collaborate. It is one industry. It is a global

industry, and I think our colleagues in the US are on the same page with us and we will work

together to exchange views.”63

           73.   March 11-14, 2019 – Houston, TX, USA (CERAWeek Conference): For the third

consecutive year, U.S. shale executives met with OPEC members during CERAWeek.

Bloomberg reported that “[t]he event has become an informal communication channel between

the cartel and fast-growing shale producers.”64 Discussing his upcoming meeting with U.S. shale

executives, Secretary General Barkindo shared, “[w]e initiated a valuable dialogue with the U.S.

shale producers two years ago in the midst of the last cycle and we agreed to continue the

dialogue because we broke barriers . . . . It is essential we continue the conversation with U.S.

shale industry.”65




61
     Id.
62
  Tom DiChristopher, Trump blasted OPEC this past year. Hess CEO says the oil producer
group deserves praise, CNBC (Jan. 23, 2019), https://www.cnbc.com/2019/01/23/trump-blasted-
opec-hess-ceo-says-the-group-deserves-praise.html.
63
     Id.
64
  Javier Blas and Kevin Crowley, OPEC to Break Bread With Shale Competitors for Third Year,
BLOOMBERG (Mar. 11, 2019), https://www.bnnbloomberg.ca/opec-to-break-bread-with-shale-
competitors-for-third-year-1.1227226.
65
     Id.


                                                 24
Case 2:24-cv-00218-LEW          Document 1      Filed 06/20/24      Page 25 of 105      PageID #:
                                               25



           74.   Barkindo reported that a Monday night dinner attended by CEOs John Hess,

Vicki Hollub, Mark Papa, and Travis Stice, from Defendants Hess, Occidental, Centennial, and

Diamondback, respectively,66 included a “friendly conversation on current industry issues and

the immediate prospects and challenges for all.”67 Diamondback CEO Stice spoke with reporters

directly after what he called “a very good session” between OPEC and Defendants, noting that

the meeting featured “open dialogue on some of the things that are going on in the U.S. shale

revolution, U.S. oil production and the associated balance of what’s going on in our industry.”68




Hess (left) was pictured with OPEC Secretary General Mohammed Barkindo (center) in Houston
on March 11, 201969




66
   CERAWeek 2019 in Review – New World of Rivalries: Reshaping the Energy Future,
CERAWEEK.COM (Mar. 2019),
https://cdn.ihsmarkit.com/www/pdf/0819/CW19Review.pdf; Javier Blas & Rachel Adams-
Heard, OPEC Splits Avocado Appetizer with Shale Adversaries in Texas, BLOOMBERG (Mar.
11, 2019), https://www.bloomberg.com/news/articles/2019-03-11/opec-to-break-bread-with-
shale-rivals-in-houston-for-3rd-year#xj4y7vzkg.
67
     Blas & Adams-Heard, supra n.66.
68
     Id.
69
     Id.


                                                25
Case 2:24-cv-00218-LEW         Document 1       Filed 06/20/24     Page 26 of 105      PageID #:
                                               26



       75.     In January 2019, OPEC and its allies began new production cuts, agreeing to

reduce supply by 1.2 million bpd over the next six months.70 After the cuts were announced,

Reuters reported that “U.S. shale producers cheered OPEC’s decision to trim output, a move that

sent crude prices higher [when announced] closing at levels that [shale] oil executives said would

keep their profits flowing.”71 At CERAWeek 2019, Barkindo indicated that OPEC and allies will

continue supply adjustments through 2019.72

       E.      2021: Defendants Actualize Their Agreement with OPEC

       76.     It is unclear when, exactly, Defendants began coordinating their output in

conjunction with OPEC. Through the end of 2018, it at least appeared to the outside world that

OPEC’s pleas were falling on deaf ears:

Figure 2: Change in Crude-Oil Production – U.S. Shale Oil v. OPEC (2014 – 2019)73




70
  Alex Lawler, OPEC posts first 2019 oil-output rise despite Saudi cuts, REUTERS (Aug. 30,
2019), https://www.reuters.com/article/us-oil-opec-survey-idUSKCN1VK1YD.
71
  Jennifer Hiller, U.S. shale producers see OPEC pullback helping 2019 profits, REUTERS
(Dec. 8, 2018), https://www.reuters.com/article/idUSL1N1YC20I/#:~:text=HOUSTON%2C%20
Dec%207%20(Reuters),would%20keep%20their%20profits%20flowing.
72
  OPEC Secretary General on Saudi Arabia’s oil production, Venezuela and NOPEC, CNBC
(Mar. 12, 2019), https://www.cnbc.com/video/2019/03/12/opec-secretary-general-on-saudi-
arabias-oil-production-venezuela.html.
73
   Sarah McFarlane & Pat Minczeski, OPEC vs. Shale: The Battle for Oil Price Supremacy, THE
WALL STREET J. (Apr. 18, 2019), https://www.wsj.com/articles/opec-vs-shale-the-battle-for-
oil-price-supremacy-11555588826.


                                               26
Case 2:24-cv-00218-LEW           Document 1       Filed 06/20/24     Page 27 of 105      PageID #:
                                                 27




           77.   Indeed, analysts predicted that 2019 would be the start of “[t]he second wave of

the U.S. Shale revolution,” which should have been “concerning for OPEC” because “U.S. oil

output is expected to grow by 1.4 million barrels a day this year, to average 12.4 million barrels a

day.”74

           78.   The second wave never occurred. In 2020, lockdowns associated with the

COVID-19 pandemic cratered gasoline demand, sending multiple shocks through the world oil




74
     Id.


                                                 27
Case 2:24-cv-00218-LEW          Document 1       Filed 06/20/24      Page 28 of 105       PageID #:
                                                28



markets. Worldwide oil production fell,75 and the U.S. shale oil industry consolidated and

suffered as production fell and smaller Independents went bankrupt.76

       79.     During this economic turmoil, Defendants and OPEC signaled to each other their

willingness to end their price war and market share competition once-and-for-all and collaborate

on their respective production levels, and consequently, global crude oil prices. In July 2020,

OPEC’s Secretary General made it clear that OPEC could inflate and sustain high crude prices if

Defendants played ball: “We were able to reach out to the U.S. [I]ndependents and we had

established a line of communication with them. We have reached some level of comfort among

ourselves. They have been participating also at their own levels to ensure that this conversation is

inclusive and is led by the biggest producers. There is no objective whatsoever from us as a

group or as individual countries to drive U.S. shale production out of business. . . . Everybody

has a role to play. . . . We are very much appreciative of the support and the cooperation we are

getting from the U.S. both at the level of policymakers as well as from industry.”77 On

November 28, 2020, Defendant EOG Resources’ CEO Bill Thomas confirmed Defendants’

willingness, as a group, to follow OPEC’s lead on pricing: “In the future, certainly we believe

OPEC will be the swing producer – really, totally in control of oil prices. . . . We don’t want to


75
  Charles Riley, Oil Prices Surge as OPEC and Its Allies Extend Production Cuts, CNN
BUSINESS (Mar. 4, 2021), https://www.cnn.com/2021/03/04/investing/opec-oil-prices-saudi-
russia/index.html (due to the global Coronavirus pandemic and market panic, OPEC members
agreed to “slash[] output [of crude oil] by a record-shattering 9.7 million barrels per day”).
76
   Irina Slav, Shale Executives See Little Chance of Significant Growth, OILPRICE.COM via
BUSINESS INSIDER (Dec. 6, 2020), https://markets.businessinsider.com/news/stocks/shale-
executives-see-little-chance-of-significant-growth-1029867633 (“Between January and October,
43 oil and gas producers in North America filed for bankruptcy protection. Most of them were
from the shale patch.”).
77
  OPEC Secretary General: No objective to drive US shale out of business, OIL & GAS
JOURNAL (July 9, 2020), https://www.ogj.com/general-interest/article/14179258/opec-
secretary-general-no-objective-to-drive-us-shale-out-of-business.


                                                 28
Case 2:24-cv-00218-LEW          Document 1        Filed 06/20/24      Page 29 of 105      PageID #:
                                                 29



put OPEC in a situation where they feel threatened, like we’re taking market share while they’re

propping up oil prices.”78

           80.   When the world emerged from the pandemic in early 2021, gasoline demand

surged, and with it, so did crude oil prices, reaching nearly $70 a barrel in March 2021. As

OPEC and OPEC+ countries emerged from the pandemic, they collectively withheld production

to push up prices further.79

           81.   Defendants also responded to rising prices by withholding production, suddenly

(and in near-unison) preaching supply “discipline” for the first time in the history of U.S. shale.

Over the course of 2021, Defendants would continue to signal to each other, OPEC, and the

market that they were no longer competing for market share or willing to act as swing producers:

                 a.     In a February 2021 interview, Defendant Chesapeake CEO Doug Lawler

                        explained that U.S. shale producers were entering a “new era” of shale

                        production that “requires a different mindset” of “more discipline and

                        responsibility.”80 Defendant Pioneer CEO Scott Sheffield agreed,

                        predicting that small companies would increase output but in the aggregate

                        U.S output would remain flat, even if crude prices go above $60, as the

                        large U.S. Independents would jointly practice discipline.81


78
  Kevin Crowley, et al., The Pandemic Has Broken Shale and Left Oil Markets in OPEC Hands,
BLOOMBERG (Nov. 28, 2020), https://www.bloomberg.com/news/articles/2020-11-28/the-
pandemic-has-broken-shale-and-left-oil-markets-in-opec-hands.
79
  Charles Riley, Oil Prices Surge as OPEC and Its Allies Extend Production Cuts, CNN
BUSINESS (Mar. 4, 2021), https://www.cnn.com/2021/03/04/investing/opec-oil-prices-saudi-
russia/index.html.
80
  Alex Lawler & Jennifer Hiller, OPEC, U.S. Oil Firms Expect Subdued Shale Rebound Even as
Crude Prices Rise, REUTERS (Feb. 23, 2021), https://www.reuters.com/business/energy/opec-
us-oil-firms-expect-subdued-shale-rebound-even-crude-prices-rise-2021-02-22/.
81
     Id.


                                                 29
Case 2:24-cv-00218-LEW        Document 1          Filed 06/20/24   Page 30 of 105     PageID #:
                                                 30



              b.     In March 2021, on the same day OPEC announced supply restrictions,

                     Defendant Occidental CEO Vicki Hollub said that despite a “healthier

                     supply and demand environment” and “a V-shaped” post-pandemic

                     recovery, U.S. oil production would not return to pre-pandemic heights,

                     because Defendants and other U.S. shale producers were “committed to

                     value growth, rather than production growth.”82

              c.     In April 2021, Pioneer CEO Sheffield said that U.S. shale producers risked

                     another price war with OPEC and its allies if they resumed the breakneck

                     production growth of the last decade. He also balked at the federal

                     government’s forecasts that predicted an increase in domestic oil

                     production, and instead declared he was “totally against” any production

                     increase as “producers now know the stakes and will stick to their mantra

                     of capital discipline.”83

              d.     In a June 2021 interview with Reuters, Sheffield said he was “confident

                     the producers will not respond” to the high crude oil prices by increasing

                     production, because they were focused on “shareholder returns.”84



82
  Pippa Stevens, U.S. Oil Production Won’t Return to Pre-Pandemic Levels, Says Occidental
CEO, CNBC (Mar. 4, 2021), https://www.cnbc.com/2021/03/04/us-oil-production-wont-return-
to-pre-pandemic-levels-occidental-
ceo.html#:~:text=Occidental%20CEO%20Vicki%20Hollub%20said,Evolve%20conversation%2
0with%20Brian%20Sullivan.
83
   Kevin Crowley, Pioneer Chief Warns of OPEC+ Price War Risk, RIGZONE (Apr. 14. 2021),
https://www.rigzone.com/news/wire/pioneer_chief_warns_of_opec_price_war_risk-14-apr-
2021-165162-article/.
84
  Liz Hampton, U.S. Shale Industry Tempers Output Even as Oil Prices Jump, REUTERS (June
28, 2021), https://www.reuters.com/business/energy/us-shale-industry-tempers-output-even-oil-
price-jumps-2021-06-28/.


                                                 30
Case 2:24-cv-00218-LEW        Document 1        Filed 06/20/24      Page 31 of 105      PageID #:
                                               31



                     According to Reuters, “[i]n the United States, closely held companies have

                     contributed substantially to rig additions this year, but Sheffield said those

                     smaller firms should not drive up volumes enough to ruffle OPEC+

                     producers.”85

              e.     On an August 5, 2021, earnings call, Defendant EOG President and CEO

                     Bill Thomas, echoing Lawler’s February 2021 language, referenced a

                     “new era” of collaboration in the global crude oil market with a “more

                     positive macro environment than we’ve been in since really the shale

                     business started. I think OPEC+ is solid. I think the U.S. will remain

                     disciplined. And so, I think the industry is in for a long run of really good

                     results.”86

              f.     On October 3, 2021, Defendant Pioneer CEO Sheffield said U.S.

                     producers were not willing to increase supply to curb soaring crude oil

                     prices that were “under OPEC           control,”87 reflecting Defendants’

                     production restraint agreement. Sheffield reaffirmed Pioneer’s

                     commitment to the agreement, promising to cap any Pioneer output

                     increase at 5% per year no matter the price of crude oil, explaining




85
     Id.
86
   EOG Resources (EOG), Q2 2021 Earnings Call Tr., THE MOTLEY FOOL (Aug. 5, 2021),
https://www.fool.com/earnings/call-transcripts/2021/08/05/eog-resources-eog-q2-2021-earnings-
call-transcript/.
87
  Derek Brower & David Sheppard, US Shale Drillers Cannot Contain Oil Price Rise, Pioneer
Boss Says, FIN. TIMES (Oct. 3, 2021), https://www.ft.com/content/c21eb656-8d09-45ce-a13a-
7d8419426b05.


                                               31
Case 2:24-cv-00218-LEW          Document 1        Filed 06/20/24     Page 32 of 105      PageID #:
                                                 32



                       “everybody’s going to be disciplined, regardless whether it’s $75 Brent,88

                       $80 Brent, or $100 Brent . . . .”89

         82.    Given that Defendants’ breakeven prices at the time were around $40/barrel,90

Defendants’ newly-discovered restraint came as a surprise to some oil industry observers:

                a.     In January 2021, Reuters reported that “U.S. shale producers are keeping

                       their pledges to hold the line on spending and keep output flat, a departure

                       from previous boom cycles.”91

                b.     In June 2021, another Reuters columnist noted that “U.S. shale producers

                       have normally captured market share from OPEC+ whenever prices have

                       been above $55-60 per barrel.”92 2021’s “run up in crude prices, and oil

                       output curbs imposed by the OPEC+ producers group, historically would




88
   “Brent” refers to Brent crude, a widely recognized benchmark for pricing crude oil
internationally. The price of Brent crude oil is determined through trading on the Intercontinental
Exchange (“ICE”) in London. It is often used as a reference point for setting oil prices.
89
     Brower & Sheppard, supra n.87.
90
   EOGResources, Value Matters: 4Q 2021 Presentation, (2022),
https://s24.q4cdn.com/589393778/files/doc_financials/2021/q4/EOG_0222.pdf (Defendant
EOG’s price needed to secure 10% return on capital, not breakeven, was ~$40); Occidental
Petroleum Corp., Q3 2020 Earnings Call Tr., OXY.COM (Nov. 10, 2020),
https://www.oxy.com/globalassets/documents/investors/quarterly-
earnings/OXY3Q20Transcript.pdf (Defendant Occidental’s breakeven price ~$40);
Diamondback Energy, Investor Presentation (Nov. 2021), at Slide 11,
https://www.diamondbackenergy.com/static-files/532c60b3-f8f0-4f43-8368-91b9f4b628e2
(Defendant     Diamondback Energy’s 2021 breakeven price was “approximately $32 per
barrel.”).
91
  Liz Hampton, U.S. Shale Industry Tempers Output Even as Oil Prices Jump, REUTERS (Jan.
28, 2021), https://www.reuters.com/business/energy/us-shale-industry-tempers-output-even-oil-
price-jumps-2021-06-28.
92
  John Kemp, U.S. Shale Restraint Pushes Oil Prices to Multi-Year High, REUTERS (June 4,
2021), https://www.reuters.com/article/global-oil-kemp-idAFL5N2NM37M.


                                                 32
Case 2:24-cv-00218-LEW              Document 1     Filed 06/20/24      Page 33 of 105      PageID #:
                                                  33



                         have triggered a drilling boom.”93 However, the author observed that

                         Defendants’ output restraints had “emboldened OPEC+ to maintain its

                         own output curbs, temporarily removing the threat of lost market share

                         and accelerating the upward pressure on prices. . . . Shale producers have

                         publicly reiterated their new commitment to output restraint in interviews

                         as well as calls with analysts and investors.”94 The author noted that “there

                         is a broad consensus among OPEC+ countries and the U.S. shale industry

                         on the need for slower output growth, higher prices, and wider profit

                         margins.”95

                 c.      On Defendant Chesapeake’s Q4 2021 earnings call, Bank of America

                         Managing Director and Head of U.S. Oil and Gas was confounded by

                         Chesapeake’s new strategy, telling Chesapeake CEO that their plans to

                         slow production would be “the easiest way to destroy value” for the

                         company in the long term.96

           83.   OPEC, however, was not surprised. In early 2021, OPEC estimated that U.S.

shale production would see a significant annual drop. Reuters reported that anonymous OPEC

sources confirmed “[t]he lack of a shale rebound could make it easier for OPEC and its allies to

manage the market.”97 OPEC also signaled that the price war was over. Secretary General


93
     Hampton, supra n.91.
94
     Kemp, supra n.92.
95
     Id.
96
  Chesapeake Energy Corporation (CHK), CEO Nick Dell’Osso on Q4 2021 Results – Earnings
Call Transcript, SEEKING ALPHA (Feb. 24, 2022), https://seekingalpha.com/article/4489980-
chesapeake-energy-corporation-chk-ceo-nick-dellosso-on-q4-2021-results-earnings-call.
97
     Lawler & Hiller, supra n.80.


                                                  33
Case 2:24-cv-00218-LEW           Document 1       Filed 06/20/24      Page 34 of 105      PageID #:
                                                 34



Barkindo told Reuters that “U.S. shale is an important stakeholder in our global efforts to restore

balance to the oil market” and that Independents and OPEC “have a shared responsibility in this

regard.”98

           F.    2022-2023: $200 a barrel? No Thanks

           84.   In 2022, after Russia invaded Ukraine, crude oil prices spiked. Unlike the steep

fall in demand during the early days of COVID-19, this was a supply-side shock that resulted in

a decrease in the volume of oil available in the U.S. market, both from increased strain on supply

chains, and more importantly, the separation of Russia’s oil production from the world market.

           85.   By mid-2022, oil crossed $120 a barrel. At this price, oil cost more than at any

point during the five-year runup to the OPEC Price War, and nearly quadruple the 2016 price

war low water mark.

           86.   OPEC responded to the possibility that the high prices might recede with further

production restraint, including cuts in October 2022 of “two million barrels per day.” These

amounts were announced as crude prices began to normalize from their near-record highs, and

were intended to “stabilize the recent fall in global energy prices.”99

           87.   Despite record prices in 2022 and consistently high prices in 2023, in a break

from their prior behavior,100 Defendants refused to increase production in an independently

economically rational manner:


98
     Id.
99
   Jeff Stein, et al., OPEC, Allies Move to Slash Oil Production, Eliciting Blistering White House
Response, THE WASH. POST (Oct. 5, 2022),
https://www.washingtonpost.com/business/2022/10/05/opec-plus-oil-cut-russia-saudi-arabia/.
100
   See Lawler & Scheyder, supra n.51; Erik Norland, As Oil Prices Plunge, What Will Swing
Producers Do?, CME GROUP (Nov. 21, 2018), https://www.cmegroup.com/education/featured-
reports/as-oil-prices-plunge-what-will-swing-producers-do.html (in the past, “higher [crude oil]
prices incentivized an enormous increase in U.S. production”, and even OPEC members



                                                  34
Case 2:24-cv-00218-LEW           Document 1        Filed 06/20/24      Page 35 of 105       PageID #:
                                                  35



               a.      In February of 2022, as Russian troops staged on the Ukrainian border in

                       advance of the invasion, Sheffield again made comments that support the

                       existence of an agreement between and among Defendants: “In regard to

                       the industry, it’s been interesting watching some of the announcements so

                       far, the public[ly listed] [I]ndependents are staying in line” and “I’m

                       confident they will continue to stay in line.”101 Indeed, following the

                       massive 2022 oil price spike during which oil prices increased 20%

                       between just January and February 2022, Sheffield emphasized,

                       “[w]hether it’s $150 oil, $200 oil, or $100 oil, we’re not going to change

                       our growth plans[.]”102

               b.      Later in February, other Defendants signaled their alignment. During an

                       earnings call, Defendant Continental’s CEO Berry confirmed, “[w]e

                       project generating flat to 5% annual production growth over the next five

                       years. . . .”103




understood that “[i]t’s normal for shale oil, tight oil [production] to increase . . . whenever oil
prices support it.”).
101
   Tsvetana Paraskova, Not Even $200 Oil Will Make Shale Giants Drill Aggressively,
OILPRICE.COM (Feb. 18, 2022), https://oilprice.com/Energy/Energy-General/Not-Even-200-
Oil-Will-Make-Shale-Giants-Drill-
Aggressively.html#:~:text=The%20largest%20U.S.%20shale%20producers,shale%20firms
%20said%20this%20week.
102
      Id.
103
      Id.


                                                  35
Case 2:24-cv-00218-LEW         Document 1      Filed 06/20/24     Page 36 of 105       PageID #:
                                              36



              c.     Defendant Diamondback’s executive Stice explained on February 22,

                     2023, “we have no reason to put growth before returns . . . we will

                     continue to be disciplined.”104

              d.     Bloomberg reported on February 24, 2022 that Defendant “EOG

                     Resources Inc. plan[ned] to restrain oil growth [in 2022] despite surging

                     prices, falling into line with most other major U.S. independent shale

                     producers. . . . like [Defendant] Pioneer Natural Resources and

                     [Defendant] Continental Resources[, who] are also limiting increases to

                     less than 5% this year.”105

              e.     In March 2022, Occidental Petroleum’s CEO Vicki Hollub stated that

                     Occidental had a “huge inventory of high-quality investments” available

                     around the world, especially in U.S. shale, but was not acting on those

                     opportunities to expand production, instead focused on maintaining high

                     profits.106

              f.     On an August 2022 earnings call, Defendant EOG said it planned to keep

                     production growth to “low single digits” in 2023 and it was “committed to

                     remaining disciplined” despite ideal economic conditions for production



104
   Geert De Lombaerde, Diamondback to Keep Production Flat, Invest $1.75 Billion in 2022,
OIL & GAS J. (Feb. 23, 2022), https://www.ogj.com/drilling-
production/article/14234465/diamondback-to-keep-production-flat-invest-175b-in-22.
105
   Kevin Crowley, EOG Holds Back Oil-Production Growth in Line with Shale Peers,
BLOOMBERG (Feb. 24, 2022), https://www.bloomberg.com/news/articles/2022-02-24/eog-
holds-back-oil-production-growth-in-line-with-shale-peers.
106
    Pippa Stevens, Oil Producers in a ‘Dire Situation’ and Unable to Ramp Up Output, Says Oxy
CEO, CNBC (Mar. 8, 2022), https://www.cnbc.com/2022/03/08/oil-producers-in-a-dire-
situation-and-unable-to-ramp-output-says-oxy-ceo.html.


                                              36
Case 2:24-cv-00218-LEW         Document 1       Filed 06/20/24      Page 37 of 105       PageID #:
                                               37



                      increases.107 In 2022, EOG increased production by only 4% and said it

                      was targeting the same increase in 2023.108

              g.      In January 2023, Sheffield confirmed that the “aggressive growth era of

                      US shale is over” and that Pioneer and the other Defendants were “no

                      longer a swing producer.”109

              h.      When asked in a March 2023 interview why Occidental was not using its

                      profits to “drill more wells” and “bring down prices,” Defendant

                      Occidental’s President, Vicki Hollub responded that “prices are in a good

                      place right now,” “gas prices at the pump are not so bad at this price,” and

                      Occidental had no intention of increasing production to meet global

                      demand and lower U.S. consumer gas prices, despite having the ability to

                      profitably increase production.110

       88.    Again, knowing Independents’ breakeven prices were continuing to fall,111 oil

industry observers expressed disbelief at Defendants’ refusal to compete for market share:


107
   EOG Resources (EOG), Q2 2022 Earnings Call Tr., THE MOTLEY FOOL (Aug. 5, 2022),
https://www.fool.com/earnings/call-transcripts/2022/08/05/eog-resources-eog-q2-2022-earnings-
call-transcript/.
108
   Liz Hampton, U.S. Shale Producer EOG Sticks to 4% Annual Output Growth, REUTERS
(Aug. 5, 2022), https://www.reuters.com/business/energy/us-shale-producer-eog-maintain-low-
single-digit-oil-output-2022-08-05/.
109
   Derek Brower and Myles McCormick, What the End of the US Shale Revolution Would Mean
for the World, FIN. TIMES (Jan. 15, 2023), https://www.ft.com/content/60747b3b-e6ea-47c0-
938d-af515816d0f1.
110
   Ian Thomas, U.S. Won’t Reach a New Record in Oil Production ‘Ever Again,’ Says Pioneer
Natural Resources CEO, CNBC (Mar. 9, 2023), https://www.cnbc.com/2023/03/09/us-wont-
reach-new-record-oil-production-ever-again-pioneer-ceo.html.
111
   E.g., Press Release, Continental Resources Announces Record 2021 Results; 2022
Projections Highlight Increasing Cash Flow and Corporate Returns, News Release (Exhibit
99.1), SEC ARCHIVES (Feb. 14, 2022),



                                               37
Case 2:24-cv-00218-LEW           Document 1        Filed 06/20/24      Page 38 of 105       PageID #:
                                                  38



                 a.     In the words of the Washington Post, the price increases following the

                        Russian invasion were a “clear signal to raise [shale] production; we’re

                        talking Bat-Signal clarity here.”112

                 b.     A February 2022 Bloomberg article wondered why Defendant EOG

                        wouldn’t “take advantage of higher prices by pumping more crude from

                        its shale fields.” The article said that EOG “plan[ned] to restrain oil

                        growth this year despite surging prices, falling into line with most other

                        major U.S. independent shale producers.”113

                 c.     In March 2022, a CNBC anchor observed: “I know we keep hearing about

                        this key code word from all of the oil companies right now that they are

                        ‘disciplined,’ but when you see oil at north of 120 dollars a barrel, I mean




https://www.sec.gov/Archives/edgar/data/732834/000119312522042827/d272362dex991.htm
(Defendant Continental reported that for 2022 it was “projecting an approximately $30 WTI free
cash flow breakeven price.”); Centennial Resource Development Inc., 2022 Corporate
Sustainability Report, PERMIAN RES.COM (2022), https://permianres.com/wp-
content/uploads/2022/08/Centennial-2022-Corporate-Sustainability-Report.pdf. ($32 breakeven
for Defendant Centennial); Using Scenarios to Understand Risks, Opportunities,
CHESAPEAKE ENERGY (2023), https://sustainability.chk.com/climate/portfolio-resilience/
(Defendant Chesapeake breakeven between $33 and $42); Investor Relations Presentation, May
2022, HESS CORP. (May 2022), https://investors.hess.com/static-files/3814592c-05ea-4659-
9651-88012e29468f (Defendant Hess breakeven ~$45); The Value Portfolio: Pioneer Natural
Resources is Heavily Undervalued, SEEKING ALPHA (Aug. 9, 2023),
https://seekingalpha.com/article/4593056-pioneer-natural-resources-heavily-undervalued
(Defendant Pioneer breakeven $39); Irina Slav, Running Out of Sweet Spots: Shale Growth May
Not Materialize, MARKETS INSIDER (Feb. 7, 2022),
https://markets.businessinsider.com/news/stocks/running-out-of-sweet-spots-the-biggest-
problem-for-us-shale-1031168908 (“Technologically, oil and gas resources can be stretched to
near infinity as drilling technology advances further and further.”).
112
      Denning, supra n.14.
113
      Crowley, supra n.105.


                                                  38
Case 2:24-cv-00218-LEW            Document 1        Filed 06/20/24      Page 39 of 105     PageID #:
                                                   39



                         it’s one thing to be disciplined, it’s another thing to miss an

                         opportunity.”114

                  d.     Again, in March 2023, the Financial Times published an article titled, “Oil

                         executives warn of higher prices now that OPEC is back ‘in charge.’”115

                         Another March 2023 article, this one from CNBC, was titled “US won’t

                         reach a new oil record in oil production ‘ever again’ says Pioneer Natural

                         Resources CEO.”116

                  e.     On April 3, 2023, after OPEC made further cuts, Bloomberg reported that

                         the U.S. shale industry did not plan to “break a three-year trend” by

                         increasing production in response to rising oil prices, and would not

                         “rescue” U.S. consumers from high gas prices, despite being “flush with

                         cash after record profits.”117 According to one industry expert, “OPEC and

                         shale are much more on the same team now, with supply discipline on

                         both sides” which “really puts a floor under the price of oil long term.”118

            89.   Defendants also continued meeting with OPEC officials in 2022 and 2023:




114
      Stevens, supra n.106.
115
   Myles McCormick, Derek Brower, & Justin Jacobs, Oil Executives Warn of Higher Prices
Now that OPEC Is Back in Charge, FIN. TIMES (Mar. 8, 2023),
https://www.ft.com/content/f1674a6e-39ae-4abb-ae2a-40fefb58d6b9.
116
   Ian Thomas, U.S. Won’t Reach a New Record in Oil Production ‘Ever Again,’ Says Pioneer
Natural Resources CEO, CNBC (Mar. 9, 2023), https://www.cnbc.com/2023/03/09/us-wont-
reach-new-record-oil-production-ever-again-pioneer-ceo.html.
117
   Kevin Crowley and Mitchell Ferman, Don’t Expect US Shale to Quickly Fill the Gap Left by
OPEC+ Cut, BLOOMBERG (Apr. 3, 2023), https://www.bloomberg.com/news/articles/2023-
04-03/opec-surprise-cut-won-t-be-filled-by-us-shale-oil?in_source=embedded-checkout-banner.
118
      Id.


                                                   39
Case 2:24-cv-00218-LEW          Document 1        Filed 06/20/24      Page 40 of 105       PageID #:
                                                 40



                a.     2022: Once again, Defendants met with OPEC officials during the 2022

                       CERAWeek Conference in Houston, Texas between March 6-10, 2022.

                       Reuters reported that at the time of this conference, “[i]t was at least the

                       fourth time since 2017 that U.S. shale oil producers and OPEC officials

                       have held such meetings to discuss energy concerns.”119 In Houston,

                       Defendants and OPEC “gathered in a private room at a restaurant and U.S.

                       producers presented OPEC Secretary General Barkindo with a bottle

                       labeled ‘Genuine Barnett Shale’ – from the oilfield that launched the shale

                       revolution. Barkindo proudly displayed the memento as he left the

                       meeting, which included executives from Hess Corp . . . and Chesapeake

                       Energy.”120 As Reuters noted, Defendants and OPEC “found themselves

                       on similar sides as oil prices have surged well above $100 a barrel: in no

                       rush to rapidly boost production.”121 Chesapeake CEO Domenic

                       Dell’Osso confirmed that “[w]ere shale to ramp up output only to have

                       prices fall, we have destroyed a lot of value for shareholders and haven’t

                       helped the problem.”122




119
   Liz Hampton & Arathy Somasekhar, OPEC Meets with U.S. Shale Executives as Oil Prices
Skyrocket, REUTERS (Mar. 7, 2022), https://www.reuters.com/business/opec-meet-with-us-
shale-executives-us-energy-conference-oil-prices-skyrocket-2022-03-
08/#:~:text=HOUSTON%2C%20March%207%20(Reuters),prices%20soared%20over%20suppl
y%20concerns. In attendance: EQT Corp Chief Executive Officer Toby Rice, Hess Corp CEO
John Hess and Chesapeake Energy CEO Domenic Dell’Osso.
120
      Hampton, supra n.29.
121
      Id.
122
      Id.


                                                 40
Case 2:24-cv-00218-LEW         Document 1        Filed 06/20/24      Page 41 of 105       PageID #:
                                                41



               b.     2023: In March, 2023, FT reported that “about two dozen [U.S. shale

                      executives] including [Defendants’ executives:] Sheffield [of Pioneer], . . .

                      Nick Dell’Osso of Chesapeake Energy, Travis Stice of Diamondback

                      Energy, Vicki Hollub of Occidental Petroleum, and John Hess of Hess

                      Corporation met with OPEC Secretary General[-elect] Haitham Al

                      Ghais123 for a private dinner in a downtown Houston steakhouse” to

                      reaffirm their agreement to restrict production, “[d]espite recent record

                      profits.”124 During this dinner, it was reported that “[t]he shale executives

                      pressed Al Ghais on how much spare production capacity OPEC could

                      deploy, and offered their own assessment of how much extra output the

                      US could deliver this year ‒ a range between 400,000 and 600,000 b/d,

                      according to one person at the dinner.”125 In the article, Sheffield doubled

                      down on his support of OPEC, “I think the people that are in charge now

                      are three countries ‒ and they’ll be in charge the next 25 years. . . . Saudi

                      first, UAE second, Kuwait third.”126




123
   In January 2022, OPEC declined to grant Mohammad Sanusi Barkindo a third term as
Secretary General and chose Haitham Al-Ghais, a veteran oil official from Kuwait, as his
successor. Barkindo was scheduled to leave his position at the end of July 2022, but on July 5, he
passed away. According to the New York Times, “[t]here is no indication that the change of
leadership will influence how much oil OPEC produces.” Stanley Reed, Mohammad Barkindo,
OPEC’s top official, dies, THE N.Y. TIMES (July 6, 2022),
https://www.nytimes.com/2022/07/06/business/opec-barkindo.html.
124
   Myles McCormick, et al., Oil Executives Warn of Higher Prices Now that OPEC Is Back in
Charge, FIN. TIMES (Mar. 8, 2023), https://www.ft.com/content/f1674a6e-39ae-4abb-ae2a-
40fefb58d6b9.
125
      Id.
126
      Id.


                                                41
Case 2:24-cv-00218-LEW           Document 1       Filed 06/20/24        Page 42 of 105    PageID #:
                                                 42



            90.   Early in 2023, Defendants removed all doubt that they were coordinating with

OPEC.

            91.   On January 5, 2023, Defendant Pioneer’s CEO Sheffield stated that “OPEC

ministers are frustrated over the recent price fall,” before predicting that forthcoming production

was “going to change . . . . If [price] stays too low, it wouldn’t surprise me if [OPEC] ha[s]

another cut . . . . [W]e’ll see what happens in the next 90 days.”127

            92.   87 days later, OPEC “shocked traders around the world”128 when it announced a

“surprise” production cut, when OPEC “had been largely expected to stick to its already agreed

2m bpd cuts.”129

            93.   In between Sheffield’s prediction and the reveal, on March 27, 2023, news

emerged that some Defendants, including at least Pioneer (Sheffield’s company) and EOG, had

pulled back the hedge positions they had previously established to protect against downward oil

price movements. This left Defendants “suddenly vulnerable” and exposed them to massive

economic risk if oil prices went down.130




127
   Kevin Crowley, One Shale Executive Correctly Called OPEC+’s Surprise Output Cut,
BLOOMBERG (Apr. 4, 2023), https://www.bloomberg.com/news/articles/2023-04-04/one-
shale-executive-correctly-called-opec-s-surprise-output-cut?sref=NqTCpwwa#xj4y7vzkg.
128
      Id.
129
   Reuters, OPEC+ Announces Surprise Cuts in Oil Production, THE GUARDIAN (Apr. 2,
2023), https://www.theguardian.com/business/2023/apr/02/opec-announces-surprise-cuts-in-oil-
production-of-about-115-mbpd.
130
  Justin Jacobs, Shale Oil Drillers Left Exposed After Pulling Back Price Hedges, FIN. TIMES
(Mar. 28, 2023), https://www.ft.com/content/c3baf69f-41fc-42ea-b13a-5ef6f546e143.


                                                 42
Case 2:24-cv-00218-LEW             Document 1       Filed 06/20/24     Page 43 of 105      PageID #:
                                                   43



            94.    Indeed, Defendant Pioneer’s CEO Sheffield defended the extraordinarily risky

move, stating “we’re not going to hedge,” and that he was still “optimistic that we’ll see $100 a

barrel before the end of the year.”131

            95.    Less than a week after news emerged of Defendants’ exposed positions, on April

2, 2023, OPEC announced their “surprise” production cut, slashing 1.15 million barrels of oil

production per day.132 Defendants’ failure to hedge was inexplicable but for their advanced

knowledge of OPEC’s planned production cuts.

            96.    In April 2023, an energy analyst succinctly summarized the effects of Defendants’

output constraint agreement:

            In its early days, shale behaved like a dimmer, with output growth accelerating
            proportionally as oil prices were dialed up. That ability to respond quickly to the
            market was due to the speed at which shale wells could be developed: a few months
            compared to the years or decades of Big Oil projects. Today, shale is as responsive
            as in the past. But there’s a difference. The dimmer appears to be capped at a
            certain level: No matter how high oil prices go above that level – say $100 a barrel
            – the industry will no longer add rigs to sop up market share. Rather, it will stay
            put and go into harvest mode with existing wells – that’s exactly what happened in
            2022, much to the consternation of the White House, which urged shale companies
            to drill more.133

            97.    Independents had the ability to increase production and gain market share, they

just chose not to:

Table 1: Defendants’ U.S. Oil Production Growth Rates In pre- and post-Class Period

                                        2017-2019 U.S. Oil           2021-2023 U.S. Oil
                  Defendant             Production Growth Rate       Production Growth Rate
                                        (Comparison Period)          (Class Period)




131
      Id.
132
      Reuters, supra n.129.
133
      Blas, supra n.21.


                                                   43
Case 2:24-cv-00218-LEW         Document 1       Filed 06/20/24     Page 44 of 105        PageID #:
                                               44



      Centennial/Permian134                123%                         56%

      Chesapeake                           31%                          -63%

      Continental                          43%                          42%

      Diamondback                          220%                         19%

      EOG                                  36%                          6%

      Hess                                 25%                          -6%

      Occidental                           89%                          8%

      Pioneer                              34%                          3%
      Defendants’ Production
      Weighted Average                     63%                          14%
      Average Crude Oil Price per
      Barrel                               $55.01                       $78.42
      Average U.S. Consumer
      Gasoline Price                       $2.67                        $3.61


        98.    Defendants’ production restraint agreement worked. Defendants are reaping the

rewards in the form of massive revenue increases, while not reinvesting that additional revenue

into new production. Compare Figure 3 with Figures 4, 5, 6, 7, 8, 9, and 10 (recording

Defendants’ revenue growth after 2020).

Figure 3. U.S. Shale Producer’s Reinvestment Rate (capital expenditure as a percentage of
operational cash flow)




134
    On September 1, 2022, Centennial Resources merged with Colgate Energy Partners II, LLC
to form Permian Resources. Centennial, Colgate Finalize $3.9B Merger; Debut as Permian
Resources Corp, SHALE EXPERTS (Sept. 1, 2022),
https://www.shaleexperts.com/articles/Centennial-Colgate-Finalize-3.9B-Merger-Debut-as-
Permian-Resources-Corp_999951603. Accordingly, the 56% figure listed in Table 1 for
Centennial is its 2021-2022 pre-merger growth rate as public figures do not permit Plaintiff to
back-out production figures from Colgate’s rigs post-acquisition.


                                               44
Case 2:24-cv-00218-LEW     Document 1       Filed 06/20/24   Page 45 of 105   PageID #:
                                           45




Figure 4. Pioneer’s Annual Revenue (USD)




                                           45
Case 2:24-cv-00218-LEW     Document 1     Filed 06/20/24   Page 46 of 105   PageID #:
                                         46




Figure 5. Permian/Centennial’s Annual Revenue (USD)




Figure 6. Chesapeake’s Annual Revenue (USD)




                                         46
Case 2:24-cv-00218-LEW     Document 1     Filed 06/20/24   Page 47 of 105   PageID #:
                                         47




Figure 7. Continental’s Annual Revenue (USD)




Figure 8. Diamondback’s Annuel Revenue (USD)




Figure 9. EOG’s Annual Revenue (USD)




                                         47
Case 2:24-cv-00218-LEW          Document 1       Filed 06/20/24      Page 48 of 105      PageID #:
                                                48




Figure 10. Occidental’s Annual Revenue (USD)




       G.      Defendants’ “Restraint” Is Economically Irrational, Absent Agreement

       99.     The terms Defendants used may have varied: being “disciplined,” or focusing on

“value growth,” or “staying in line,” or operating for “shareholder returns.” But they are all code

words for each Defendants’ agreement to coordinate and restrain domestic shale oil production.


                                                48
Case 2:24-cv-00218-LEW          Document 1        Filed 06/20/24      Page 49 of 105      PageID #:
                                                 49



Further, Defendants’ repeated public confirmation of their production discipline was an

admission that they each had spare productive capacity that they chose not to utilize.

       100.     In a competitive market for arguably the most important commodity on earth:

crude oil, expanding production to take advantage of prices above your breakeven is the

economically rational response. If you do not, your competitor will; taking margin share and

reinvesting their additional profits into further productive capacity and/or efficiency gains.

Defendants taught OPEC this lesson during the Shale Revolution.

       101.     In a competitive market, no single Defendant would restrain production unless

they knew their competitors would also restrain their production. No business in a competitive

market would turn down opportunities to make three times marginal cost (i.e., breakeven), and

couch that economically irrational decision with a preposterous statement about focusing on

“shareholder returns.” In a competitive market, if you are not drilling that oil, someone else is.

       102.     And others did drill some of that oil. Notoriously conservative and well-known to

view fracking as a waste of time (in part because their overhead structure made small-scale

operations relatively more expensive), the supermajors started investing in shale in 2021 and

2022 at rates previously unseen, in direct response to U.S. shale producers “underinvesting as an

industry”:135

                a.     ExxonMobil planned to boost its 2022 production level in the Permian

                       Basin by 25% in response to record high crude oil prices.136



135
   Clifford Krauss, What Exxon & Chevron are Doing with Those Big Profits, THE N.Y.
TIMES (Feb. 1, 2023), https://www.nytimes.com/2023/02/01/business/energy-
environment/exxon-chevron-oil-gas-profit.html
136
   Kevin Crowley, et al., Exxon and Chevron Plan Permian Oil Surge as Peers Preach Caution,
BLOOMBERG (Feb. 2, 2022), https://www.bloomberg.com/news/articles/2022-02-01/exxon-
joins-chevron-in-permian-oil-surge-as-peers-preach-caution.


                                                 49
Case 2:24-cv-00218-LEW             Document 1       Filed 06/20/24      Page 50 of 105     PageID #:
                                                   50



                   b.     Similarly, Chevron planned on a 10% increase in the same region in 2022

                          “from an even larger production base.”137

                   c.     Mid way through 2022, Chevron anticipated a “15% year-over-year

                          increase” in shale oil production from 2021 and promised to continue

                          “bolstering production.”138

                   d.     In May 2023, ExxonMobil Chief Executive Darren Woods said that

                          Exxon is hoping to double the amount of oil produced from its U.S. shale

                          holdings over a five-year period using new technologies.139

            103.   Smaller, non-public shale companies drilled some of that oil, too. In 2022,

“[s]maller, privately held firms . . . raised production in response to higher prices and are going

full steam ahead.”140 Due to the gap in production left by Defendants, these smaller private

producers “lead output gains during the highest [crude oil] prices in seven years.”141 For

example, Reuters reported that, “Tall City Exploration, a privately-backed Permian [basin]




137
      Id.
138
   Chevron to Boost Permian Oil Production as Demand for Reliable Energy Grows,
CHEVRON (June 16, 2022), https://www.chevron.com/newsroom/2022/q2/chevron-to-boost-
permian-oil-production-as-demand-for-reliable-energy-grows.
139
   Sabrina Valle, Exxon CEO Says Technology Advances Could Double Its Shale Output,
REUTERS (June 1, 2023), https://www.reuters.com/business/energy/exxon-ceo-says-5-year-
program-could-double-its-shale-output-2023-06-
01/#:~:text=Exxon%20CEO%20says%20technology%20advances%20could%20double%20its%
20shale%20output,-
By%20Sabrina%20Valle&text=HOUSTON%2C%20June%201%20(Reuters),year%20period%2
0using%20new%20technologies..
140
    Liz Hampton, U.S. Shale Oil Forecasts Keep Rising as Smaller Producers Lead the Way,
Reuters (Mar. 2, 2022), https://www.reuters.com/business/energy/us-shale-oil-forecasts-keep-
rising-smaller-producers-lead-way-2022-03-02/.
141
      Id.


                                                   50
Case 2:24-cv-00218-LEW             Document 1       Filed 06/20/24     Page 51 of 105         PageID #:
                                                   51



producer, added a second drilling rig . . . and is eying a three-fold increase” from 2021 in 2022

production.142

            104.   But small shale oil producers going from one rig to two is not enough to

meaningfully move U.S. production when Defendants control nearly 20% of the total active oil

rigs in the U.S., including conventional oil rigs and rigs owned by supermajors.143 With those

rigs, in 2023 Defendants were responsible for approximately 16.2% of U.S. total crude oil

production (including conventional crude oil). Defendants are able to leverage their collective

market share because of how fragmented the domestic oil market is: of the 247 companies

operating oil rigs in the U.S., 162 companies are running just one rig.144 Only 10 companies own

15 or more rigs ‒ five are Defendants (EOG, Occidental, Pioneer, Diamondback, and

Continental), and three of the other five are supermajors (Exxon, Chevron, and

ConcoPhillips).145

            105.   Moreover, Defendants’ market power is exacerbated by the fact that conventional

oil production in the U.S. is largely fixed and cannot quickly add or remove production volume

in response to price changes.

            106.   OPEC believes itself to be outside the reach of the Sherman Act, so OPEC

doesn’t use code words when describing its coordination with, and the coordination amongst,

Defendants: OPEC and Defendants “collaborate,”146 “compare[] notes[s],”147 “work together to



142
      Id.
143
      Data obtained from https://oilgasleads.com/top-drilling-company/ on March 11, 2024.
144
      Id.
145
      See supra n.143.
146
      DiChristopher, supra n.62.
147
      OPEC bulletin Special Edition, supra n.49, at 51 (OPEC Secretary General Barkindo).


                                                   51
Case 2:24-cv-00218-LEW             Document 1      Filed 06/20/24      Page 52 of 105      PageID #:
                                                  52



exchange views,”148 discuss “how [OPEC and Defendants] should proceed going forward,”149

“further explore the mechanic of achieving [OPECs and Defendants’] common objective,”150 and

discuss OPECs and Defendants’ “shared responsibility”151 for global oil markets.

          107.    Whether expressed in code words or frank terms, Defendants’ agreement by and

between themselves and OPEC to coordinate U.S. domestic shale oil production is per se illegal

under the Sherman Act.

                                          PLUS FACTORS

          108.    The presence of a number of factors, referred to as “plus factors” and “super plus

factors” render the U.S. shale oil industry highly conducive to collusion. Plus factors are

“economic actions and outcomes, above and beyond parallel conduct by oligopolistic firms, that

are largely inconsistent with unilateral conduct but largely consistent with explicitly coordinated

action,” and therefore support an inference of collusion.152 “Super plus factors are actions or

outcomes that would almost never be observed in the absence of collusion, [such that], it is

reasonable to presume that the cartel finds these conducts or outcomes important to the

implementation and operation of the collusive structures.”153




148
      DiChristopher, supra n.62.
149
      OPEC bulletin Special Edition, supra n.49, at 51 (OPEC Secretary General Barkindo).
150
      Blas & Smith, supra n.30 (OPEC Secretary General Barkindo).
151
   Sam Meredith, OPEC Calls on US Shale Oil Producers to Accept ‘Shared Responsibility’ of
Slashing Global Supply, CNBC (Oct. 10, 2017), https://www.cnbc.com/2017/10/10/opec-calls-
on-us-shale-oil-producers-to-accept-shared-responsibility.html (OPEC Secretary General
Barkindo).
152
  William E. Kovacic, et al., Plus Factors and Agreement in Antitrust Law, 110 MICH. L.
REV. 393, 393 (2011).
153
      See id. at 426.


                                                  52
Case 2:24-cv-00218-LEW         Document 1        Filed 06/20/24     Page 53 of 105      PageID #:
                                                53



       109.    The following plus and super plus factors alleged herein support an inference that

Defendants’ actions constituted a per se unlawful price-fixing conspiracy, not merely parallel

conduct:

               a.     The market conditions for U.S. shale oil are favorable to collusion. As

                      discussed above, the U.S. shale oil industry is highly fragmented, with a

                      small number of larger producers and hundreds of smaller producers.

                      These larger producers (Defendants) have excess capacity; and have

                      industry trade associations they regularly take part in, giving them ample

                      time and opportunity to coordinate supply restraints and curtail cheating

                      on the conspiracy. As detailed above, Defendants did in fact meet during

                      trade association gatherings, including annually at the CERAWeek

                      Conference in Houston, TX, to discuss their internal cooperation and the

                      overall cooperation with OPEC by all Defendants to maintain that excess

                      capacity.

               b.     The market conditions for crude oil sold in the U.S. are susceptible to the

                      price effects of collusion because it, and the downstream products for

                      which it is the key input, is a daily-use commodity that has no substitute

                      for many purchasers and high switching costs for the remainder, leading to

                      highly inelastic demand.154

               c.     Defendants’ actions were against Defendants’ independent self-interests

                      but for the existence of an agreement. As detailed above, Defendants


154
    Gasoline itself has highly inelastic demand, meaning that very few consumers will switch to
alternative products as the price at the pump rises. This reinforces the inelasticity of upstream
demand for crude oil.


                                                53
Case 2:24-cv-00218-LEW         Document 1        Filed 06/20/24      Page 54 of 105       PageID #:
                                                54



                      repeatedly met with each other and OPEC representatives and discussed

                      amongst themselves and with OPEC representatives their confidential

                      business plans, including forward-looking production and capacity

                      information. No rational business would share this proprietary and

                      competitively sensitive information with a direct competitor, absent

                      collusion. Following these exchanges, Defendants then decided not to

                      increase their respective production volumes when that would have been

                      in their individual rational economic best interests, given rising prices.

                      Instead, Defendants withheld production in a manner that would only be in

                      their individual rational economic best interests if Defendants had an

                      agreement between themselves and OPEC to coordinate production levels

                      so as to maintain crude oil prices at artificially high levels. Defendants

                      repeatedly communicated forward-looking production data and publicly

                      commented on each other’s production announcements in a manner that

                      would be irrational, absent an agreement.

                                    ANTITRUST INJURY

 Defendants’ Agreement to Constrain Shale Oil Production Has Inflated the Price of
                    Crude Oil Throughout the Class Period

       110.    Historically, global crude oil demand was primarily met by oil obtained from

conventional drilling. Following the Shale Revolution, the influence of U.S. shale production on

crude oil prices (and gasoline prices) is undeniable, a fact recognized by market analysts and

economists.

               a.     A Forbes article from 2019, claims that “without the U.S. shale oil boom,

                      [crude] oil prices would have never dropped back below $100/bbl”


                                                54
Case 2:24-cv-00218-LEW             Document 1        Filed 06/20/24     Page 55 of 105       PageID #:
                                                    55



                        because, since 2008, “U.S. oil production increased by 8.5 million bpd ‒

                        equal to 73.2% of the global increase in production.”155

                 b.     In a 2017 article titled “The oil market in the age of shale oil,” economists

                        concluded that, since 2014, US shale oil has affected oil prices by

                        increasing global crude oil supply and influencing OPEC policies.156

                 c.     In October 2019, the Executive Office of the U.S. President’s Council of

                        Economic Advisors declared that the U.S. shale revolution has “reduced

                        the global price of oil by 10 percent” since 2007.157

                 d.     In 2020, economists from the Federal Reserve Bank of Dallas found that

                        without the shale oil revolution, oil prices would have risen by 36% in

                        2018.158

                 e.     In 2023, an article in the International Journal of Energy Economics and

                        Policy states that, in the past, “[t]he increase in US crude oil production,

                        driven by shale oil . . . significantly increased oil supply, directly affecting

                        the price of crude oil . . . .”159


155
   Robert Rapier, The U.S. Accounted for 98% of Global Oil Production Growth in 2018,
FORBES (June 23, 2019), https://www.forbes.com/sites/rrapier/2019/06/23/the-u-s-accounted-
for-98-of-global-oil-production-growth-in-2018/?sh=249e989b5125.
156
  Irma Alonso Alvarez 7 Virginia Di Nino, The oil market in the age of shale oil, 8 ECB
ECON. BULLETIN, 57-74 (2017).
157
   The Value of U.S. Energy Innovation & Policies Supporting the Shale Revolution, COUNCIL
OF ECON. ADVISORS (Oct. 2019), https://trumpwhitehouse.archives.gov/wp-
content/uploads/2019/10/The-Value-of-U.S.-Energy-Innovation-and-Policies-Supporting-the-
Shale-Revolution.pdf.
158
  Nathan S. Balke, et al., The Shale Revolution and the Dynamics of the Oil Market, FED.
RESERVE BANK OF DALLAS (June 17, 2020), https://www.dallasfed.org/-
/media/documents/research/papers/2020/wp2021.pdf.
159
      Rodhan, supra n.22, at 433-43.


                                                    55
Case 2:24-cv-00218-LEW           Document 1       Filed 06/20/24     Page 56 of 105      PageID #:
                                                 56



          111.   As noted above, U.S. Independents’ output decisions have a disproportionate

impact on the price of crude oil because they are swing producers for the global market.160 When

competing with each other (and OPEC), as the largest Independents in a very fractured

production landscape, Defendants have sufficient market power to dictate whether the U.S. can

produce enough shale oil in response to high crude prices to “swing” the market and push prices

down.

          112.   Defendants acknowledge that they have this power and are choosing not to use it.

For example, on March 2, 2022, the New York Times reported that, “[e]xecutives of several

companies, including [Defendant] Pioneer Natural Resources . . . and [Defendant] Continental

Resources, have said in recent days that they were committed to limiting production to avoid

oversupplying the market and pushing down prices . . . .”161

          113.   Since at least 2021, Defendants have collectively coordinated their production

decisions, leading to production growth rates lower than would be seen in a competitive market,

despite high oil prices and healthy global demand.

          114.   Despite production increases from supermajors and smaller private producers,

Defendants’ production restraint has had a considerable impact on total U.S. shale production. In

2022, U.S. shale oil production increased by only 500,000 barrels, which was 50% short of

market analysts’ general yearly estimates.162




160
      Lee, supra n.20.
161
  Stanley Reed, As Oil Soars, OPEC and Its Allies Decline to Offer Relief, The N.Y. TIMES
(Mar. 2, 2022), https://www.nytimes.com/2022/03/02/business/oil-prices-opec.html.
162
  Eric Rosenbaum, Oil CEOs are Doubling Down on Buybacks as Biden Budget Seeks to
Quadruple Tax, CNBC (Mar. 7, 2023), https://www.cnbc.com/2023/03/07/oxy-ceo-doesnt-seem-
worried-about-politics-of-buybacks-gas-prices.html.


                                                 56
Case 2:24-cv-00218-LEW            Document 1     Filed 06/20/24     Page 57 of 105      PageID #:
                                                57



        115.    Instead of providing price relief at the pump, Defendants took advantage of

supply chain bottlenecks caused by global crises like COVID and Russia’s invasion of Ukraine

to obtain record profits and fund expanded stock buybacks, which benefitted only Defendants

and their shareholders.163


 Defendants’ Agreement to Constrain Shale Oil Production Has Inflated the Price of
               Retail Gasoline Purchased by Plaintiff and the Class

        116.    Gasoline consumers in the U.S., like Plaintiff and the proposed class members,

purchase gasoline from gas stations. Approximately 54% of the U.S. price of gasoline is

comprised of the price of crude oil used in the manufacturing process.164 Consequently, as

recognized by the U.S. Energy Information Administration, “[r]etail gasoline prices are mainly

affected by crude oil prices . . . .”165

        117.    Indeed, Defendants’ own trade association, the American Petroleum Institute

admits that “the price of crude oil is the primary determinant of the price we pay at the pump”166



163
   Ro Khanna et. al., Congressional Letter to FTC Chair Lina Khan, Congress of the United
States (Mar. 6, 2024), https://khanna.house.gov/sites/evo-subsites/khanna.house.gov/files/evo-
media-document/Letter%20to%20FTC%20on%20Big%20Oil%20Consolidation.pdf.
164
   The Four Main Factors that Influence U.S. Gas Prices, U.S. DEP’T OF ENERGY (last
accessed Feb. 26, 2024), https://www.energy.gov/sites/default/files/2023-
04/GasPriceFactors2.jpg. The remainder of gasoline prices are driven by distribution and
marketing costs (16%), refining costs (14%) and taxes (16%).
165
   Gasoline explained: Gasoline price fluctuation, U.S. ENERGY INFO. ADMIN. (last updated
Apr. 19, 2023), https://www.eia.gov/energyexplained/gasoline/price-
fluctuations.php#:~:text=Gasoline%20prices%20generally%20follow%20crude%20oil%20price
s.&text=Gasoline%20prices%20tend%20to%20increase,expected%20gasoline%20demand%20o
r%20consumption.
166
   Gas Prices Explained: Five Fast Facts About U.S. Gasoline Prices, AM. PETROLEUM
INST., (last accessed Mar. 11, 2024), https://www.api.org/oil-and-natural-gas/energy-
primers/gas-prices-
explained#:~:text=The%20primary%20factors%20impacting%20gasoline,gasoline%20retailers
%20pay%20to%20distributors.


                                                57
Case 2:24-cv-00218-LEW           Document 1        Filed 06/20/24      Page 58 of 105       PageID #:
                                                  58



and that “[n]ationwide on a quarterly basis, crude oil prices have explained more than 90% of the

variation in [U.S.] gasoline prices since 2020.”167 A preliminary regression analysis168 of

monthly U.S. gasoline prices between 2001 and 2023, in which monthly refiner acquisition crude

oil prices was the only variable returned a R-square of 90%.169 Put another way, between 2001

and 2023, the preliminary regression found that 90% of gasoline price variations in the U.S. can

be explained by the prevailing crude oil price.

       118.    That crude oil prices drive gasoline prices is not surprising when one considers

how crude oil moves through the supply chain from Defendants to consumers. Defendants and

other producers of crude oil sell crude oil to refineries, who use chemical separation and reaction

processes to convert crude oil into gasoline and other products (e.g., diesel oil, jet fuel, and other

manufacturing feedstocks). The refineries then transport the gasoline to bulk terminal storage

facilities. Because crude oil is the main raw material used to refine gasoline sold in the United

States, Defendants’ conspiracy had a direct effect on Plaintiff and members of the Class who

were forced to purchase gasoline at artificially inflated levels.

Figure 11. U.S. Gasoline Supply Chain


167
   Id. See also Factors that impact gas prices, NACS (Apr. 05, 2023)
https://www.convenience.org/Topics/Fuels/The-Price-Per-Gallon (“Retail gasoline prices move
an estimated 2.4 cents per gallon for every $1 change in the price per barrel [of crude oil].”).
168
   A regression analysis is a statistical method that describes the relationship between two or
more variables. The regression method tests the relationship between a dependent variable (here
gasoline prices) against independent variables (here crude oil prices). The “Refiner Acquisition
Cost of Crude Oil” and “Weekly Retail Gasoline” data series maintained by the U.S. Energy
Information Administration was used for the regression.
169
   R-square is a statistical measure in a regression model that determines the proportion of the
variance in the dependent or “response” variable (gasoline price) that can be explained by the
independent variable or “mean” (crude oil prices paid by refiners). A R-square of 0% represents
a model that does not explain any of the variation in the response variables around the mean and
a R-square of 100% represents a model that explains all the variation in the response on the
mean.


                                                  58
Case 2:24-cv-00218-LEW           Document 1       Filed 06/20/24      Page 59 of 105        PageID #:
                                                 59




          119.   Gas stations purchase gasoline wholesale from refiners (or other gasoline

marketers who have purchased from the refineries) at a price that is directly tied to the price that

was paid by refineries for crude oil, including crude oil sold to those refineries by Defendants.

Gas stations set the price of retail gasoline above the wholesale price they pay, therefore passing

on to Plaintiff and the Classes any increase in the wholesale price. Indeed, the National

Association of Convenience Stores, a body which represents American gas stations, has

confirmed that gas stations mark up the price they pay for gasoline by 35 cents a gallon on

average when setting the price at the pump.170 This can be seen in Figure 12 immediately below,

which shows that U.S. gas prices follow the prices paid by U.S. refineries for crude oil.

Figure 12. Refiners Crude Oil Acquisition Costs vs U.S. Average Gasoline Prices (Adjusted
for Inflation)




170
      Lenard, supra n.4.


                                                 59
Case 2:24-cv-00218-LEW          Document 1        Filed 06/20/24       Page 60 of 105         PageID #:
                                                 60




       120.    Therefore, the price of crude oil has a direct effect on the price of retail

gasoline.171 Because crude oil is the main raw material used to refine gasoline sold in the United

States, and because changes in crude oil prices drove changes in gasoline prices paid by Plaintiff

and members of the Classes throughout the relevant period, Defendants’ conspiracy had a direct

effect on Plaintiff and members of the Classes who were forced to purchase gasoline at

artificially inflated levels. Because no intermediate purchaser absorbed the price increases

caused by Defendants’ antitrust activity, Plaintiff and members of the Classes throughout the

relevant period paid higher prices as a result of Defendants’ antitrust activity.




171
     Ian Thomas, U.S. won’t reach a new record in oil production ‘ever again,’ says Pioneer
Natural Resources CEO, CNBC (Mar. 9, 2023), https://www.cnbc.com/2023/03/09/us-wont-
reach-new-record-oil-production-ever-again-pioneer-ceo.html (In his 2023 State of the Union,
President Biden said that U.S. gasoline prices were too high because oil producers invested “too
little” of their “record profits” to ramp up domestic production and “used those record profits to
buy back their own stock, rewarding their CEOs.”).


                                                 60
Case 2:24-cv-00218-LEW          Document 1        Filed 06/20/24       Page 61 of 105      PageID #:
                                                 61



                               CLASS ACTION ALLEGATIONS

       121.    Plaintiff brings this action on behalf of himself and under Federal Rule of Civil

Procedure 23(a), (b)(1), and (b)(2) as representative of a class of indirect buyers seeking

injunctive relief (“Nationwide Injunctive Relief Class”) defined as:

               All persons and entities who purchased retail gasoline for personal use from a
               gas station in the United States between January 1, 2021 and until the
               Defendants’ unlawful conduct and its anticompetitive effects cease to persist.

       122.    Plaintiff also brings this action on behalf of himself and all others similarly

situated as a class action under Federal Rules of Civil Procedure 23(a) and 23(b)(3), seeking

damages as well as equitable relief, on behalf of the following Class (“State Law Class”):

               All persons and entities who purchased retail gasoline from a gas station in
               Arizona, California, Colorado, Connecticut, the District of Columbia,
               Hawaii, Illinois, Iowa, Kansas, Maine, Maryland, Michigan, Minnesota,
               Mississippi, Missouri, Nebraska, Nevada, New Hampshire, New Mexico,
               New York, North Carolina, North Dakota, Oregon, Rhode Island, South
               Dakota, Tennessee, Utah, West Virginia, and/or Wisconsin between January
               1, 2021 and until the Defendants’ unlawful conduct and its anticompetitive
               effects cease to persist.

       123.    Specifically excluded from these Classes are Defendants; the officers, directors,

or employees of any Defendant; any entity in which any Defendant has a controlling interest; and

any affiliate, legal representative, heir, or assign of any Defendant. Also excluded from both

Classes are any federal, state, or local governmental entities, any judicial officer presiding over

this action and the members of his/her immediate family and judicial staff, any juror assigned to

this action, and any co-conspirator identified in this action.

       124.    Both Classes are so numerous as to make joinder impracticable. Plaintiff does not

know the exact number of Class members but the above-defined classes are readily identifiable

and are ones for which records should exist. Plaintiff believes that due to the nature of the

product market there are at least millions of members of both Classes in the United States.



                                                  61
Case 2:24-cv-00218-LEW            Document 1      Filed 06/20/24      Page 62 of 105       PageID #:
                                                 62



       125.    Common questions of law and fact exist as to all members of both Classes.

Plaintiff and both Classes were injured by the same unlawful price-fixing conspiracy, and

Defendants’ anticompetitive conduct was generally applicable to all the members of the Classes,

and relief to both Classes as a whole is appropriate. Common issues of fact and law include, but

are not limited to, the following:

               a.      whether Defendants and their co-conspirators engaged in a combination or

                       conspiracy to fix, raise, maintain, or stabilize the price of crude oil and/or

                       gasoline in the United States;

               b.      the duration of the conspiracy alleged herein and the acts performed by

                       Defendants and their co-conspirators in furtherance of the conspiracy;

               c.      whether such combination or conspiracy violated the antitrust and

                       consumer protection laws of various states;

               d.      whether the conduct of Defendants and their co-conspirators, as alleged in

                       this Complaint, caused injury to the Plaintiff and other members of the

                       Classes;

               e.      whether Defendants caused Plaintiff and the Classes to suffer damages in

                       the form of overcharges on gasoline;

               f.      the effect of Defendants’ alleged conspiracy on the prices of retail

                       gasoline sold in the United States during the Class Period;

               g.      the appropriate Class-wide measure of damages; and

               h.      the nature of appropriate injunctive relief to restore competition in the

                       U.S. market for gasoline.




                                                 62
Case 2:24-cv-00218-LEW          Document 1        Filed 06/20/24      Page 63 of 105      PageID #:
                                                 63



       126.    Plaintiff’s claims are typical of the claims of Class members, and Plaintiff will

fairly and adequately protect the interests of both Classes. Plaintiff and all members of both

Classes are similarly affected by Defendants’ unlawful conduct in that they paid artificially

inflated prices for gasoline sold in the U.S., resulting from price-fixing in the crude oil market by

cartel members.

       127.    Plaintiff’s claims arise out of the same common course of conduct giving rise to

the claims of the other members of the Classes. Plaintiff’s interests are coincident with and

typical of, and not antagonistic to, those of the other members of the Classes.

       128.    Plaintiff has retained counsel with substantial experience litigating complex

matters, including class actions, in multiple industries and courts throughout the nation.

       129.    The questions of law and fact common to the members of the Classes

predominate over any questions affecting only individual members, including issues relating to

liability and damages.

       130.    Class action treatment is a superior method for the fair and efficient adjudication

of the controversy, in that, among other things, such treatment will permit a large number of

similarly situated persons to prosecute their common claims in a single forum simultaneously,

efficiently, and without the unnecessary duplication of evidence, effort, and expense that

numerous individual actions would engender. The benefits of proceeding through the class

mechanism, including providing injured persons or entities with a method for obtaining redress

for claims that it might not be practicable to pursue individually, substantially outweigh any

difficulties that may arise in management of this class action. Moreover, the prosecution of

separate actions by individual members of the Classes would create a risk of inconsistent or

varying adjudications, establishing incompatible standards of conduct for Defendants.




                                                 63
Case 2:24-cv-00218-LEW           Document 1        Filed 06/20/24      Page 64 of 105        PageID #:
                                                  64



       131.     Plaintiff knows of no difficulty likely to be encountered in the maintenance of this

action as a class action under Federal Rule of Civil Procedure 23.

                                     CLAIMS FOR RELIEF

       A.       VIOLATION OF THE SHERMAN ACT

                            COUNT I: Violation of 15 U.S.C. §1
                     (On Behalf of the Nationwide Injunctive Relief Class)

       132.     Plaintiff incorporates and realleges, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       133.     From at least January 1, 2021, and continuing through the present, the exact dates

being unknown to Plaintiff, Defendants and their co-conspirators entered into a continuing

agreement, understanding, and conspiracy in restraint of trade artificially to fix, raise, and

stabilize price for crude oil and retail gasoline in the United States, including by restraining their

respective production volumes, in violation of Section 1 of the Sherman Act (15 U.S.C. §1).

       134.     In formulating and carrying out the alleged agreement, understanding, and

conspiracy, Defendants and their co-conspirators did those things that they combined and

conspired to do, including but not limited to the acts, practices, and course of conduct set forth

above, and the fixing, raising, and stabilizing of the price of crude oil and retail gasoline.

       135.     The combination and conspiracy alleged herein has had the following effects,

among others:

                a.     Price competition in the sale of crude oil has been restrained, suppressed,

                       and/or eliminated in the United States;

                b.     Prices for crude oil sold by Defendants and all their co-conspirators have

                       been fixed, raised, maintained and stabilized at artificially high,

                       noncompetitive levels throughout the United States; and



                                                  64
Case 2:24-cv-00218-LEW            Document 1       Filed 06/20/24       Page 65 of 105        PageID #:
                                                  65



                c.      Those who purchased retail gasoline indirectly from Defendants and their

                        co-conspirators for their personal use have been deprived of the benefits of

                        free and open competition and paid artificially high prices for gasoline.

        136.    Plaintiff and members of the Classes have been injured and will continue to be

injured in their businesses and property by paying more for retail gasoline purchased indirectly

from the Defendants and their co-conspirators for their personal use than they would have paid

and will pay in the absence of the combination and conspiracy.

        137.    Plaintiff and members of the Classes are entitled to an injunction against

defendants, preventing and restraining the violations alleged herein.

        B.      VIOLATIONS OF STATE ANTITRUST LAWS

        138.    Plaintiff repeats and reiterates the allegations set forth above as if fully set forth

herein, and each of the state-specific causes of action described below incorporates the

allegations as if fully set forth therein.

        139.    During the Class Period, Defendants and their co-conspirators entered and

engaged in a contract, combination, or conspiracy to fix, decrease, stabilize, or maintain at

artificially low levels, the production of shale oil in various states to unreasonably restrain trade

and commerce and harm consumers in violation of the various state antitrust and consumer

protection laws set forth below.

        140.    In formulating and effectuating this conspiracy, Defendants and their co-

conspirators performed acts in furtherance of the combination and conspiracy, including:

agreeing to fix, decrease, maintain, or stabilize shale oil production at artificially low levels,

thereby raising, fixing, and stabilizing crude oil prices, which injured Plaintiff and members of

the Classes; exchange of competitively sensitive information between and among Defendants;




                                                   65
Case 2:24-cv-00218-LEW          Document 1        Filed 06/20/24      Page 66 of 105       PageID #:
                                                 66



and participating in meetings conversations among themselves in the United States and

elsewhere to implement, adhere to, and police the unlawful agreements they reached.

       141.    Defendants and their co-conspirators engaged in the actions described above for

the purpose of carrying out their unlawful agreements to fix, increase, maintain, or stabilize

crude oil prices at artificially high levels. As a direct and proximate result of Defendants’

conduct, Plaintiff and members of the Classes were deprived of free and open competition and

paid more to purchase gasoline than they otherwise would have in the absence of Defendants’

unlawful conduct. This injury is of the type that the antitrust and consumer protection laws of the

below states were designed to prevent and flows from that which makes Defendants’ conduct

unlawful. The increased prices caused by Defendants’ activity were not absorbed by any

intermediate purchaser, including at the retail level, and instead caused Plaintiff and members of

the Classes damage.

   142.        In addition, Defendants have profited significantly from the conspiracy.

Defendants’ profits derived from their anticompetitive conduct and come at the expense of and to

the detriment of Plaintiff and members of the Classes.

   143.        Accordingly, Plaintiff and the members of the State Law Damages Class in each

of the following jurisdictions seek damages (including statutory damages where applicable), to

be trebled or otherwise increased as permitted by each jurisdiction’s law, injunction (where

applicable), and costs of suit, including reasonable attorneys’ fees, to the extent permitted by the

following state laws.

   144.        Defendants’ anticompetitive acts described above were knowing and willful and

constitute violations of the following state antitrust and consumer protection statutes.




                                                 66
Case 2:24-cv-00218-LEW             Document 1       Filed 06/20/24      Page 67 of 105         PageID #:
                                                   67



    145.          In the Counts that follow, a reference to the “Class” is a reference to the State

Law Class unless otherwise specified.

                  Count II: Violation of Arizona’s Uniform State Antitrust Act,
                                Ariz. Rev. Stat. § 44-1401, et seq.

        146.      Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.

        147.      By reason of the conduct alleged herein, Defendants have violated ARIZONA

REV. STAT. § 44-1401, et seq.

        148.      Under Arizona law, indirect purchasers have standing to maintain an action under

the Antitrust Act based on the facts alleged in this Complaint. Bunker’s Glass Co. v. Pilkington

PLC, 206 Ariz. 9, 11-20 (2003).

        149.      Defendants entered into a contract, combination, or conspiracy between two or

more persons in restraint of the oil market, a substantial part of which occurred within Arizona.

        150.      Defendants’ violations of Arizona law were flagrant.

        151.      Defendants’ unlawful conduct substantially affected Arizona’s trade and

commerce (gasoline).

        152.      As a direct and proximate cause of Defendants’ unlawful conduct, Plaintiff and

members of the Class have been injured in their business or property and are threatened with

further injury.

        153.      By reason of the foregoing, Plaintiff and members of the Class are entitled to seek

all forms of relief available under Arizona Revised Statutes Section 44-1401, et seq.

        154.      In conjunction with the filing of this Complaint, Plaintiff has served a copy of this

Complaint on the Arizona Attorney General in accordance with ARIZ. REV. STAT. ANN. § 44-

1415(A). Plaintiff will file proof of such service with the Court.



                                                    67
Case 2:24-cv-00218-LEW           Document 1       Filed 06/20/24      Page 68 of 105         PageID #:
                                                 68



                      Count III: Violation of California’s Cartwright Act,
                            Cal. Bus. & Prof. Code § 16700 et seq.

         155.   Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.

         156.   The California Business & Professions Code generally governs conduct of

corporate entities. The Cartwright Act, CAL. BUS. & PROF. CODE §§ 16700-16770, governs

antitrust violations in California.

         157.   Under the Cartwright Act, indirect purchasers have standing to maintain an action

based on the facts alleged in this Complaint. CAL. BUS. & PROF. CODE § 16750(a).

         158.   A trust in California is any combination of capital, skills or acts by two or more

persons intended for various purposes, including but not limited to creating or carrying out

restrictions in trade or commerce, limiting or reducing the production or increasing the price of

any commodity, or preventing competition in the market for a commodity. CAL. BUS. & PROF.

CODE § 16720. Every trust in California is unlawful except as provided by the Code. Id. at §

16726.

         159.   Defendants entered into a contract, combination, or conspiracy between two or

more persons in restraint of the oil market, a substantial part of which occurred within California.

         160.   Defendants enacted a combination of capital, skill or acts for the purpose of

creating and carrying out restrictions in trade or commerce, in violation of CAL. BUS. & PROF.

CODE § 16700, et seq.

         161.   Plaintiff and/or members of the Class purchased retail gasoline within the State of

California during the Class Period. But for Defendant’s conduct set forth, the price of retail

gasoline would have been lower, in an amount to be determined at trial.




                                                 68
Case 2:24-cv-00218-LEW          Document 1        Filed 06/20/24       Page 69 of 105       PageID #:
                                                 69



       162.    Plaintiff and/or members of the Class were injured with respect to purchases of

gasoline in California and are entitled to all forms of relief, including recovery of treble

damages, interest, and injunctive relief, plus reasonable attorneys’ fees and costs.

                      Count IV: Violation of the Colorado Antitrust Act,
                               Colo. Rev. Stat. Ann. § 6-4-101, et seq.

       163.    Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.

       164.    Plaintiff and members of the Class purchased Defendants’ oil within Colorado

during the Class Period. But for Defendants’ conduct set forth herein, the price of Defendants’

oil would have been lower, in an amount to be determined at trial.

       165.    The Colorado State Antitrust Act of 2023 specifically allows a private act of

recovery for “[a]ny person injured, either directly or indirectly” from violations Colorado

antitrust law for actual damages. See C.R.S. § 6-4-115 (emphasis added).

       166.    Defendants contracted, combined or conspired to act in restraint of trade within

Colorado in violation of C.R.S. § 6-4-101, et seq.

       167.    Plaintiff and/or members of the Class were injured with respect to purchases of

retail gasoline in Colorado and are entitled to all forms of relief, including actual damages, treble

damages, as well as interest and reasonable attorneys’ fees and costs. C.R.S. § 6-4-115.

                     Count V: Violation of the Connecticut Antitrust Act,
                            Conn. Gen. Stat. Ann § 35-24, et seq.

       168.    Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.

       169.    Plaintiff and/or members of the Class purchased Defendants’ oil within

Connecticut during the Class Period. But for Defendants’ conduct set forth, the price of

Defendants’ oil would have been lower, in an amount to be determined at trial.


                                                  69
Case 2:24-cv-00218-LEW           Document 1        Filed 06/20/24      Page 70 of 105       PageID #:
                                                  70



       170.    The Connecticut Antitrust specifically allows a private act of recovery for indirect

purchasers by prohibiting a defendant from “assert[ing] a defense that the defendant did not deal

directly with the person on whose behalf the action is brought.” See C.G.S.A. § 35-46a.

       171.    Defendants contracted, combined, or conspired to act in restraint of trade within

Connecticut in violation C.G.S.A. § 35-24, et seq. Defendants’ conducts and conspiracies

restrained, suppressed, and eliminated the price competitive for oil; raised, fixed, maintained,

and stabilized oil prices at artificially high levels, while depriving Plaintiff and members of the

Class of free and open competition. These acts resulted in Plaintiff and members of the Class

paying supracompetitive, artificially inflated prices for retail gasoline.

       172.    Plaintiff and/or members of the Class were injured with respect to purchases of

retail gasoline in Connecticut and are entitled to all forms of relief, including actual damages,

treble damages, as well as interest and reasonable attorneys’ fees and costs.

                  Count VI: Violation of District of Columbia Antitrust Act,
                                D.C. Code § 28-4501, et seq.

       173.    Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.

       174.    Plaintiff and/or members of the Class purchased Defendants’ oil within the

District of Columbia during the Class Period. But for Defendants’ conduct set forth, the price of

Defendants’ oil would have been lower, in an amount to be determined at trial.

       175.    Under District of Columbia law, indirect purchasers have standing to maintain an

action under the antitrust provisions of the D.C. Code because “[a]ny indirect purchaser in the

chain of manufacture, production or distribution of goods or services . . . shall be deemed to be

injured within the meaning of this chapter.” D.C. CODE § 28-4509(a).




                                                  70
Case 2:24-cv-00218-LEW           Document 1       Filed 06/20/24       Page 71 of 105       PageID #:
                                                 71



       176.    Defendants contracted, combined or conspired to act in restraint of trade within

the District of Columbia in violation of D.C. CODE § 28-4501, et seq.

       177.    Plaintiff and/or members of the Class were injured with respect to purchases of

retail gasoline in the District of Columbia and are entitled to all forms of relief, including actual

damages, treble damages, as well as interest and reasonable attorneys’ fees and costs.

                         Count VII: Violation of Hawaii Antitrust Act,
                             Haw. Rev. Stat. Ann § 480-1, et seq.

       178.    Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.

       179.    Plaintiff and/or members of the Class purchased retail gasoline within Hawaii

during the Class Period. But for Defendants’ conduct set forth herein, the price of retail gasoline

would have been lower, in an amount to be determined at trial.

       180.    The Hawaii Antitrust Act specifically allows a private act of recovery for indirect

purchasers. See HRS § 480-13.3.

       181.    Defendants contracted, combined, or conspired to act in restraint of trade within

Connecticut in violation of H.S.R. § 480-1, et seq.

       182.    Plaintiff and/or members of the Class were injured with respect to purchases of

retail gasoline in Hawaii and are entitled to all forms of relief, including actual damages, as well

as interest and reasonable attorneys’ fees and costs.

                         Count VIII: Violation of Illinois Antitrust Act,
                           740 Ill. Comp. Stat. Ann. 10/3(1), et seq.

       183.    Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.




                                                  71
Case 2:24-cv-00218-LEW           Document 1        Filed 06/20/24       Page 72 of 105       PageID #:
                                                  72



       184.    Plaintiff and/or members of the Class purchased Defendants’ oil within the State

of Illinois during the Class Period. But for Defendants’ conduct set forth, the price of

Defendants’ oil would have been lower, in an amount to be determined at trial.

       185.    Under the Illinois Antitrust Act, indirect purchasers have standing to maintain an

action for damages based on the facts alleged in this complaint. 740 ILL. COMP. STAT.

ANN.10/7(2).

       186.    Defendants entered into contracts or engaged in a combination or conspiracy for

the purpose of fixing, controlling or maintaining prices for oil sold within the State of Illinois.

       187.    Plaintiff and/or members of the Class were injured with respect to purchases of

retail gasoline in Illinois and are entitled to all forms of relief, including actual damages, treble

damages, and reasonable attorneys’ fees and costs.

                         Count IX: Violation of Iowa Competition Law,
                                   Iowa Code § 553.1, et seq.

       188.    Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.

       189.    Under Iowa law, indirect purchasers have standing to maintain an action under the

Iowa Competition Law based on the facts alleged in this Complaint. Comes v. Microsoft Corp.,

646 N.W.2d 440, 449-51 (Iowa 2002).

       190.    Plaintiff and/or members of the Class purchased Defendants’ oil within the State

of Iowa during the Class Period. But for Defendants’ conduct set forth, the price of Defendants’

oil would have been lower, in an amount to be determined at trial.

       191.    Defendants contracted, combined or conspired to restrain trade in the oil market,

in violation of Iowa Code § 553.1, et seq.




                                                  72
Case 2:24-cv-00218-LEW           Document 1        Filed 06/20/24     Page 73 of 105          PageID #:
                                                  73



          192.   Plaintiff and/or members of the Class were injured with respect to purchases of

retail gasoline in Iowa, and are entitled to all forms of relief, including actual damages,

exemplary damages for willful conduct, reasonable attorneys’ fees and costs, and injunctive

relief.

                      Count X: Violation of Kansas Restraint of Trade Act,
                                Kan. Stat. Ann. § 50-101, et seq.

          193.   Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.

          194.   The Kansas Restraint of Trade Act aims to prohibit practices which, inter alia,

“tend to prevent full and free competition in the importation, transportation or sale of articles

imported into this state . . . .” Kan. Stat. Ann. § 50-112.

          195.   Plaintiff and/or members of the Class purchased retail gasoline within the State of

Kansas during the Class Period.

          196.   But for Defendants’ conduct set forth, the price of retail gasoline would have been

lower, in an amount to be determined at trial.

          197.   Under the Kansas Restraint of Trade Act, indirect purchasers have standing to

maintain an action based on the facts alleged in this Complaint. KAN. STAT. ANN. § 50-161(b).

          198.   Plaintiff and/or members of the Class were injured with respect to purchases of

retail gasoline in Kansas and are entitled to all forms of relief, including actual damages,

reasonable attorneys’ fees and costs, and injunctive relief.

                        Count XI: Violation of Maine’s Antitrust Statute,
                                   10 M.R.S. § 1101, et seq.

          199.   Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.




                                                  73
Case 2:24-cv-00218-LEW          Document 1       Filed 06/20/24      Page 74 of 105         PageID #:
                                                74



       200.    Plaintiff and members of the Class purchased retail gasoline within the State of

Maine during the Class Period. The increased prices caused by Defendants’ activity were not

absorbed by any intermediate purchaser, including at the retail level, and instead caused Plaintiff

and members of the Classes damage. But for Defendants’ conduct set forth herein, the price of

retail gasoline would have been lower, in an amount to be determined at trial.

       201.    Under Maine law, indirect purchasers have standing to maintain an action based

on the facts alleged in this Complaint. 10 M.R.S. § 1104(1).

       202.    Plaintiff and members of the Class were injured with respect to purchases of retail

gasoline in Maine and are entitled to all forms of relief, including actual damages, treble

damages, and reasonable attorneys’ and experts’ fees and costs.

                    Count XII: Violation of Maryland’s Antitrust Statute,
                              Md. Code Ann. § 11-201, et seq.

       203.    Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.

       204.    The purpose of Maryland’s antitrust statute is “to complement the body of federal

law governing restraints of trade, unfair competition, and unfair, deceptive, and fraudulent acts

or practices.” MD. CODE ANN. § 11-202(a)(1).

       205.    Under Maryland law, indirect purchasers have standing to maintain an action

based on the facts alleged in this Complaint. MD. CODE. ANN. § 11-209(b)(2)(i).

       206.    Under Maryland’s antitrust statute, a plaintiff who establishes a violation is

entitled to recover three times the amount of actual damages resulting from the violation, along

with costs and reasonably attorneys’ fees. MD. CODE ANN. § 209(b)(4).




                                                 74
Case 2:24-cv-00218-LEW          Document 1        Filed 06/20/24      Page 75 of 105         PageID #:
                                                 75



         207.   Plaintiff and/or members of the Class were injured with respect to purchases of

retail gasoline in Maryland and are entitled to all forms of relief, including actual damages, treble

damages, and reasonable attorneys’ and experts’ fees and costs.

                 Count XIII: Violation of the Michigan Antitrust Reform Act,
                             Mich. Comp. Laws § 445.771, et seq.

         208.   Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.

         209.   The Michigan Antitrust Reform Act aims “to prohibit contracts, combinations,

and conspiracies in restraint of trade or commerce . . . [and] to provide remedies, fines, and

penalties for violations of this act.” Mich. Act 274 of 1984 (MICH. COMP. LAWS § 445.771, et

seq.).

         210.   Plaintiff and/or members of the Class purchased Defendants’ oil within the State

of Michigan during the Class Period. But for Defendants’ conduct set forth herein, the price of

retail gasoline would have been lower, in an amount to be determined at trial.

         211.   Under the Michigan Antitrust Reform Act, indirect purchasers have standing to

maintain an action based on the facts alleged in this complaint. MICH. COMP. LAWS §

445.778(2).

         212.   Plaintiff and/or members of the Class were injured with respect to purchases of

retail gasoline in Michigan and are entitled to all forms of relief, including actual damages, treble

damages for flagrant violations, interest, costs, reasonable attorneys’ fees, and injunctive or other

appropriate equitable relief.

                    Count XIV: Violation of the Minnesota Antitrust Law,
                       Minn. Stat. §§ 325D.49 et seq. & 325D.57 et seq.




                                                 75
Case 2:24-cv-00218-LEW          Document 1       Filed 06/20/24      Page 76 of 105         PageID #:
                                                76



       213.    Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.

       214.    The Minnesota Antitrust Law of 1971 prohibits “any contract, combination or

conspiracy when any part thereof was created, formed, or entered into in [Minnesota]; and any

contract, combination or conspiracy, wherever created, formed or entered into . . . whenever any

of the forgoing affects the trade or commerce of [Minnesota].” MINN. STAT. § 325D.54.

       215.    Plaintiff and/or members of the Class purchased Defendants’ retail gasoline the

State of Minnesota during the Class Period. But for Defendants’ conduct set forth herein, the

price of retail gasoline would have been lower, in an amount to be determined at trial.

       216.    Under the Minnesota Antitrust Act of 1971, indirect purchasers have standing to

maintain an action based on the facts alleged in this Complaint. MINN. STAT. § 325D.57.

       217.    Plaintiff and/or members of the Class were injured with respect to purchases of

retail gasoline in Minnesota and are entitled to all forms of relief, including actual damages,

treble damages, costs and disbursements, reasonable attorneys’ fees, and injunctive relief

necessary to prevent and restrain violations hereof.

       218.    In conjunction with the filing of this Complaint, Plaintiff has served a copy of this

Complaint on the Minnesota Attorney General in accordance with MINN. STAT. § 325D.63.

                   Count XV: Violation of the Mississippi Antitrust Statute,
                             Miss. Code Ann. § 75-21-1, et seq.

       219.    Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.

       220.    Title 75 of the Mississippi Code regulates trade, commerce, and investments.

Chapter 21 thereof generally prohibits trusts and combines in restraint or hindrance of trade, with




                                                 76
Case 2:24-cv-00218-LEW           Document 1       Filed 06/20/24       Page 77 of 105       PageID #:
                                                 77



the aim that “trusts and combines may be suppressed, and the benefits arising from competition

in business [are] preserved” to Mississippians. MISS. CODE ANN. § 75-21-39.

       221.    “A trust or combine is a combination, contract, understanding or agreement,

express or implied . . . when inimical to the public welfare” and with the effect of, inter alia,

restraining trade, increasing the price or output of a commodity, or hindering competition in the

production or sale of a commodity. MISS. CODE ANN. § 75-21-1.

       222.    Plaintiff and/or members of the Class purchased retail gasoline within the State of

Mississippi during the Class Period. But for Defendants’ conduct set forth herein, the price of

retail gasoline would have been lower, in an amount to be determined at trial.

       223.    Under Mississippi law, indirect purchasers have standing to maintain an action

under the antitrust provisions of the Mississippi Code based on the facts alleged in this

Complaint. MISS. CODE ANN. § 75-21-9.

       224.    Plaintiff and/or members of the Class were injured with respect to purchases of

retail gasoline in Mississippi and are entitled to all forms of relief, including actual damages and

a penalty of $500 per instance of injury.

                 Count XVI: Violation of the Missouri Merchandising Practices Act,
                                 Mo. Ann. Stat. § 407-010, et seq.

       225.    Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.

       226.    Chapter 407 of the Missouri Merchandising Practices Act (the “MMPA”)

generally governs unlawful business practices, including antitrust violations such as restraints of

trade and monopolization.




                                                  77
Case 2:24-cv-00218-LEW          Document 1        Filed 06/20/24      Page 78 of 105        PageID #:
                                                 78



       227.    Plaintiff and/or members of the Class purchased retail gasoline within the State of

Missouri during the Class Period. But for Defendants’ conduct set forth herein, the price of retail

gasoline would have been lower, in an amount to be determined at trial.

       228.    Under Missouri law, indirect purchasers have standing to maintain an action

under the MMPA based on the facts alleged in this Complaint. Gibbons v. J. Nuckolls, Inc., 216

S.W.3d 667, 669 (Mo. 2007).

       229.    Plaintiff and/or members of the Class were injured with respect to purchases of

retail gasoline in Missouri and are entitled to all forms of relief, including actual damages or

liquidated damages in an amount which bears a reasonable relation to the actual damages which

have been sustained, as well as reasonable attorneys’ fees, costs, and injunctive relief.

                          Count XVII: Violation of the Nebraska Junkin Act,
                                  Neb. Rev. Stat. § 59-801, et seq.

       230.    Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.

       231.    Chapter 59 of the Nebraska Revised Statutes generally governs business and trade

practices. Sections 801 through 831 thereof, known as the Junkin Act, prohibit antitrust

violations such as restraints of trade and monopolization.

       232.    Plaintiff and/or members of the Class purchased retail gasoline within the State of

Nebraska during the Class Period. But for Defendants’ conduct set forth, the price of retail

gasoline would have been lower, in an amount to be determined at trial.

       233.    Under Nebraska law, indirect purchasers have standing to maintain an action

under the Junkin Act based on the facts alleged in this Complaint. NEB. REV. STAT. § 59-821.

       234.    Plaintiff and/or members of the Class were injured with respect to purchases of

retail gasoline in Nebraska and are entitled to all forms of relief, including actual damages or



                                                 78
Case 2:24-cv-00218-LEW          Document 1        Filed 06/20/24       Page 79 of 105       PageID #:
                                                 79



liquidated damages in an amount which bears a reasonable relation to the actual damages which

have been sustained, as well as reasonable attorneys’ fees, costs, and injunctive relief.

              Count XVIII: Violation of the Nevada Unfair Trade Practices Act,
                             Nev. Rev. Stat. § 598A.010, et seq.

       235.    Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.

       236.    The Nevada Unfair Trade Practices Act (“NUTPA”) states that “free, open and

competitive production and sale of commodities and services is necessary to the economic well-

being of the citizens of the State of Nevada.” NEV. REV. STAT. ANN. § 598A.030(1).

       237.    The policy of NUTPA is to “[p]rohibit acts in restraint of trade or commerce,”

“[p]reserve and protect the free, open and competitive market,” and “[p]enalize all persons

engaged in [] anticompetitive practices.” NEV. REV. STAT. ANN. § 598A.030(2). Such acts

include, inter alia, price fixing, division of markets, allocation of customers, and monopolization

of trade. See NEV. REV. STAT. § 598A.060.

       238.    Plaintiff and/or members of the Class purchased retail gasoline within the State of

Nevada during the Class Period. But for Defendants’ conduct set forth, the price of retail

gasoline would have been lower, in an amount to be determined at trial.

       239.    Under Nevada law, indirect purchasers have standing to maintain an action under

NUTPA based on the facts alleged in this Complaint. NEV. REV. STAT. ANN. § 598A.210(2).

       240.    Plaintiff and/or members of the Class were injured with respect to purchases of

retail gasoline in Nevada in that at least thousands of sales of retail gasoline took place in

Nevada, purchased by Nevada consumers at supra-competitive prices caused by Defendants’

conduct.




                                                  79
Case 2:24-cv-00218-LEW          Document 1        Filed 06/20/24      Page 80 of 105         PageID #:
                                                 80



        241.    Accordingly, Plaintiff and members of the Class are entitled to all forms of relief,

including actual damages, treble damages, reasonable attorneys’ fees, costs, and injunctive relief.

        242.    In accordance with the requirements of § 598A.210(3), Plaintiff mailed notice of

this action to the Nevada Attorney General.

                     Count XIX: Violation of New Hampshire’s Antitrust Statute,
                           N.H. Rev. Stat. Ann. Tit. XXXI, § 356:1, et seq.

        243.    Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.

        244.    Title XXXI of the New Hampshire Statutes generally governs trade and

commerce.

        245.    Chapter 356 thereof governs combinations and monopolies and prohibits

restraints of trade. See N.H. REV. STAT. ANN. tit. XXXI, §§ 356:2, 3.

        246.    Plaintiff and members of the Class purchased Defendants’ oil within the State of

New Hampshire during the Class Period. But for Defendants’ conduct set forth herein, the price

of Defendants’ oil would have been lower, in an amount to be determined at trial.

        247.    Under New Hampshire law, indirect purchasers have standing to maintain an

action based on the facts alleged in this Complaint. N.H. REV. STAT. ANN. § 356:11(II).

Defendants established, maintained or attempted to, constituting a contract, combination or

conspiracy in restraint of trade in violation of in violation of N.H. REV. STAT. ANN. § 356:1, et

seq.

        248.    Plaintiff and members of the Class were injured with respect to purchases of

Defendants’ oil in New Hampshire and are entitled to all forms of relief, including actual

damages sustained, treble damages for willful or flagrant violations, reasonable attorneys’ fees,

costs, and injunctive relief.



                                                 80
Case 2:24-cv-00218-LEW          Document 1        Filed 06/20/24     Page 81 of 105          PageID #:
                                                 81



                        Count XX: Violation of the New Mexico Antitrust Act,
                                  N.M. Stat. Ann. § 57-1-1, et seq.

       249.     Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.

       250.     The New Mexico Antitrust Act aims to “prohibit[] restraints of trade and

monopolistic practices.” N.M. STAT. ANN. § 57-1-15.

       251.     Plaintiff and/or members of the Class purchased retail gasoline within the State of

New Mexico during the Class Period. But for Defendants’ conduct set forth herein, the price of

retail gasoline would have been lower, in an amount to be determined at trial.

       252.     Under New Mexico law, indirect purchasers have standing to maintain an action

based on the facts alleged in this Complaint. See N.M. STAT. ANN. § 57-1-3(A).

       253.     Plaintiff and/or members of the Class were injured with respect to purchases of

retail gasoline in New Mexico and are entitled to all forms of relief, including actual damages,

treble damages, reasonable attorneys’ fees, costs, and injunctive relief.

             Count XXI: Violation of Section 340 of the New York General Business Law,
                                 N.Y. Gen. Bus. Law § 340, et seq.

       254.     Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.

       255.     Section 340 of Article 22 of the New York General Business Law prohibits

monopolies and contracts or agreements in restraint of trade, with the policy of encouraging

competition or the free exercise of any activity in the conduct of any business, trade or

commerce in New York. See N.Y. GEN. BUS. LAW § 340(1).




                                                 81
Case 2:24-cv-00218-LEW          Document 1       Filed 06/20/24      Page 82 of 105         PageID #:
                                                82



        256.   Plaintiff and/or members of the Class purchased retail gasoline within the State of

New York during the Class Period. But for Defendants’ conduct set forth herein, the price of

retail gasoline would have been lower, in an amount to be determined at trial.

        257.   Under New York law, indirect purchasers have standing to maintain an action

based on the facts alleged in this Complaint. See N.Y. GEN. BUS. LAW § 340(6).

        258.   Plaintiff and/or members of the Class were injured with respect to purchases of

retail gasoline in New York and are entitled to all forms of relief, including actual damages,

treble damages, costs not exceeding $10,000, and reasonable attorneys’ fees and all relief

available under N.Y. GEN. BUS. LAW §349, et seq.

        259.   Pursuant to New York General Business Law § 340(5), counsel for Plaintiff has

sent letters by certified mail, return receipt requested, to the Attorney General of New York,

informing the Attorney General of the existence of this Class Action Complaint, identifying the

relevant state antitrust provisions, and enclosing a copy of the original complaints filed by

Plaintiff.

                   Count XXII: Violation of the North Carolina General Statutes,
                                  N.C. Gen. Stat. § 75-1, et seq.

        260.   Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.

        261.   Chapter 75 of the North Carolina Statutes generally governs unlawful business

practices, including antitrust violations such as restraints of trade and monopolization.

        262.   Under North Carolina law, indirect purchasers have standing to maintain an action

based on the facts alleged in this Complaint. See Hyde v. Abbott Labs., Inc., 123 N.C. App. 572,

584 (1996).




                                                 82
Case 2:24-cv-00218-LEW            Document 1        Filed 06/20/24     Page 83 of 105          PageID #:
                                                   83



        263.      Defendants’ unlawful conduct substantially affected North Carolina’s trade and

commerce.

        264.      As a direct and proximate cause of Defendants’ unlawful conduct, Plaintiff and

the members of the Class have been injured in their business or property and are threatened with

further injury.

        265.      By reason of the foregoing, Plaintiff and members of the Class are entitled to seek

all forms of relief available, including treble damages, under N.C. GEN. STAT. § 75-1, et seq.

               Count XXIII: Violation of the North Dakota Uniform State Antitrust Act,
                                N.D. Cent. Code § 51-08.1-01, et seq.

        266.      Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.

        267.      The North Dakota Uniform State Antitrust Act generally prohibits restraints on or

monopolization of trade. See N.D. CENT. CODE § 51-08.1-01, et seq.

        268.      Plaintiff and/or members of the Class purchased retail gasoline within the State of

North Dakota during the Class Period. But for Defendants’ conduct set forth herein, the price of

retail gasoline would have been lower, in an amount to be determined at trial.

        269.      Under the North Dakota Uniform State Antitrust Act, indirect purchasers have

standing to maintain an action based on the facts alleged in this Complaint. N.D. CENT. CODE

§ 51- 08.1-08.

        270.      Defendants’ violations of North Dakota law were flagrant.

        271.      Defendants’ unlawful conduct substantially affected North Dakota’s trade and

commerce.

        272.      As a direct and proximate cause of Defendants’ unlawful conduct, Plaintiff and/or

members of the Class were injured with respect to purchases in North Dakota and are threatened



                                                   83
Case 2:24-cv-00218-LEW          Document 1         Filed 06/20/24     Page 84 of 105        PageID #:
                                                  84



with further injury, and are entitled to all forms of relief, including actual damages, treble

damages for flagrant violations, costs, reasonable attorneys’ fees, and injunctive or other

equitable relief available under N.D. CENT. CODE § 51-08.1-01, et seq.

                         Count XXIV: Violation of the Oregon Antitrust Law,
                                  Or. Rev. Stat. § 646.705, et seq.

       273.    Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.

       274.    Chapter 646 of the Oregon Revised Statutes generally governs business and trade

practices within Oregon. Sections 705 through 880 thereof govern antitrust violations, with the

policy to “encourage free and open competition in the interest of the general welfare and

economy of the state.” OR. REV. STAT. § 646.715(1).

       275.    Plaintiff and/or members of the Class purchased retail gasoline within the State of

Oregon during the Class Period. But for Defendants’ conduct set forth herein, the price of retail

gasoline would have been lower, in an amount to be determined at trial.

       276.    Under Oregon law, indirect purchasers have standing under the antitrust

provisions of the Oregon Revised Statutes to maintain an action based on the facts alleged in this

Complaint. OR. REV. STAT. § 646.780(1)(a).

       277.    Plaintiff and/or members of the Class were injured with respect to purchases of

retail gasoline within the intrastate commerce of Oregon, or alternatively to interstate commerce

involving actual or threatened injury to persons located in Oregon, and are entitled to all forms of

relief, including actual damages, treble damages, reasonable attorneys’ fees, expert witness fees

and investigative costs, and injunctive relief.

                       Count XXV: Violation of the Rhode Island Antitrust Act,
                                 6 R.I. Gen. Laws § 6-36-1, et seq.




                                                  84
Case 2:24-cv-00218-LEW           Document 1        Filed 06/20/24     Page 85 of 105         PageID #:
                                                  85



       278.     Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.

       279.     The Rhode Island Antitrust Act aims “[t]o promote the unhampered growth of

commerce and industry throughout [Rhode Island] by prohibiting unreasonable restraints of trade

and monopolistic practices” that hamper, prevent or decrease competition. 6 R.I. GEN. LAWS §

6-36-2(a)(2).

       280.     Plaintiff and/or members of the Class purchased retail gasoline within the State of

Rhode Island during the Class Period. But for Defendants’ conduct set forth herein, the price of

retail gasoline would have been lower, in an amount to be determined at trial.

       281.     Under the Rhode Island Antitrust Act, indirect purchasers have standing to

maintain an action based on the facts alleged in this Complaint. R.I. GEN. LAWS § 6-36-11(a).

       282.     Plaintiff and/or members of the Class were injured with respect to purchases of

retail gasoline in Rhode Island and are entitled to all forms of relief, including actual damages,

treble damages, reasonable costs, reasonable attorneys’ fees, and injunctive relief.

       283.     In conjunction with the filing of this Complaint, Plaintiff has mailed a copy of this

Complaint to the Rhode Island Attorney General in accordance with R.I. GEN. LAWS § 6-36-

21. Plaintiff will file proof of such service with the Court.

                    Count XXVI: Violation of the South Dakota Antitrust Statute,
                              S.D. Codified Laws § 37-1-3.1, et seq.

       284.     Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.

       285.     Chapter 37-1 of the South Dakota Codified Laws prohibits restraint of trade,

monopolies, and discriminatory trade practices. S.D. CODIFIED LAWS §§ 37-1-3.1, 3.2.




                                                  85
Case 2:24-cv-00218-LEW          Document 1        Filed 06/20/24     Page 86 of 105         PageID #:
                                                 86



       286.    Plaintiff and/or members of the Class purchased retail gasoline within the State of

South Dakota during the Class Period. But for Defendants’ conduct set forth herein, the price of

retail gasoline would have been lower, in an amount to be determined at trial.

       287.    Under South Dakota law, indirect purchasers have standing under the antitrust

provisions of the South Dakota Codified Laws to maintain an action based on the facts alleged in

this Complaint. See S.D. CODIFIED LAWS § 37-1-33.

       288.    Plaintiff and/or members of the Class were injured with respect to purchases of

retail gasoline in South Dakota and are entitled to all forms of relief, including actual damages,

treble damages, taxable costs, reasonable attorneys’ fees, and injunctive or other equitable relief.

                   Count XXVII: Violation of the Tennessee Trade Practices Act,
                                Tenn. Code § 47-25-101, et seq.

       289.    Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.

       290.    The Tennessee Trade Practices Act generally governs commerce and trade in

Tennessee, and it prohibits, inter alia, all arrangements, contracts, agreements, or combinations

between persons or corporations made with a view to lessen, or which tend to lessen, full and

free competition in goods in Tennessee. All such arrangements, contracts, agreements, or

combinations between persons or corporations designed, or which tend, to increase the prices of

any such goods, are against public policy, unlawful, and void. See TENN. CODE, § 47-25-101.

       291.    Under Tennessee law, indirect purchasers have standing under the Tennessee

Trade Practice Acts to maintain an action based on the facts alleged in this Complaint. See

Freeman Indus., LLC v. Eastman Chem. Co., 172 S.W.3d 512, 520 (Tenn. 2005).




                                                 86
Case 2:24-cv-00218-LEW          Document 1           Filed 06/20/24   Page 87 of 105       PageID #:
                                                    87



       292.    Defendants competed unfairly and colluded by meeting to restrain output, fix

prices, divide markets, and otherwise restrain trade as set forth herein, in violation of Tenn.

Code, § 47-25-101, et seq.

       293.    Defendants’ conduct violated the Tennessee Trade Practice Act because it was an

arrangement, contract, agreement, or combination to lessen full and free competition in goods in

Tennessee, and because it tended to increase the prices of goods in Tennessee. Specifically,

Defendant’s combination or conspiracy had the following effects: (1) price competition for retail

gasoline was restrained, suppressed, and eliminated throughout Tennessee; (2) prices for retail

gasoline were raised, fixed, maintained and stabilized at artificially high levels throughout

Tennessee; (3) Plaintiff and members of the Class were deprived of free and open competition;

and (4) Plaintiff and members of the Class paid supracompetitive, artificially inflated prices for

oil.

       294.    During the Class Period, Defendants’ illegal conduct had a substantial effect on

Tennessee commerce as retail gasoline refined from Defendants oil was sold in Tennessee.

       295.    Plaintiff and/or members of the Class purchased retail gasoline within the State of

Tennessee during the Class Period. But for Defendants’ conduct set forth, the price of retail

gasoline would have been lower, in an amount to be determined at trial.

       296.    Plaintiff and/or members of the Class were injured with respect to purchases of

retail gasoline in Tennessee and are entitled to all forms of relief available under the law,

including return of the unlawful overcharges that they paid on their purchases, damages,

equitable relief, and reasonable attorneys’ fees.

                          Count XXVIII: Violation of the Utah Antitrust Act,
                                Utah Code Ann. § 76-10-3101, et seq.




                                                    87
Case 2:24-cv-00218-LEW          Document 1        Filed 06/20/24      Page 88 of 105        PageID #:
                                                 88



       297.    Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.

       298.    The Utah Antitrust Act aims to “encourage free and open competition in the

interest of the general welfare and economy of this state by prohibiting monopolistic and unfair

trade practices, combinations and conspiracies in restraint of trade or commerce.” UTAH CODE

ANN. § 76-10-3102.

       299.    Plaintiff and/or members of the Class purchased retail gasoline within the State of

Utah during the Class Period. But for Defendants’ conduct set forth herein, the price of retail

gasoline would have been lower, in an amount to be determined at trial.

       300.    Under the Utah Antitrust Act, indirect purchasers who are either Utah residents or

Utah citizens have standing to maintain an action based on the facts alleged in this Complaint.

UTAH CODE ANN. § 76-10-3109(1)(a).

       301.    Plaintiff and/or members of the Class were injured with respect to purchases of

retail gasoline in Utah and are entitled to all forms of relief, including actual damages, treble

damages, costs of suit, reasonable attorneys’ fees, and injunctive relief.

       302.    In conjunction with the filing of this Complaint, Plaintiff has served a copy of this

Complaint on the Utah Attorney General in accordance with UTAH CODE ANN. § 76-10-

3109(9).

                      Count XXIX: Violation of the West Virginia Antitrust Act,
                                  W. Va. Code § 47-18-1, et seq.

       303.    Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.

       304.    The violations of law set forth above also constitute violations of Section 47-18-1

of the West Virginia Code.



                                                 88
Case 2:24-cv-00218-LEW          Document 1        Filed 06/20/24     Page 89 of 105     PageID #:
                                                 89



       305.    During the Class Period, Defendants engaged in anticompetitive conduct alleged

above, including a continuing contract, combination or conspiracy in unreasonable restraint of

trade and commerce within the intrastate commerce of West Virginia, in violation of W. VA.

CODE §§ 47-18-3; 47-18-4.

       306.    Plaintiff and/or members of the Class purchased Defendants’ oil within the State

of West Virginia during the Class Period. But for Defendant’s conduct set forth herein, the price

of Defendants’ oil would have been lower, in an amount to be determined at trial.

       307.    Under West Virginia law, indirect purchasers have standing to maintain an action

under the West Virginia Antitrust Act based on the facts alleged in this Complaint. W. VA.

CODE St. R. 142-9-2 (“Any person who is injured directly or indirectly by reason of a violation

of the West Virginia Antitrust Act, W. Va. Code § 47-18-1, et seq., may bring an action for

damages under W. Va. Code § 47-18-9.”).

       308.    Defendants’ anticompetitive acts described above were knowing, willful and

constitute violations or flagrant violations of the West Virginia Antitrust Act.

       309.     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff

and/or members of the Class have been injured in their business and property in that they paid

more for retail gasoline than they otherwise would have paid in the absence of Defendants’

unlawful conduct.

       310.    As a result of Defendants’ violation of Section 47-18-3 of the West Virginia

Antitrust Act, Plaintiff and members of the Class seek treble damages and their cost of suit,

including reasonable attorneys’ fees, pursuant to Section 47-18-9 of the West Virginia Code.

                        Count XXX: Violation of the Wisconsin Antitrust Act,
                                    Wis. Stat. § 133.01, et seq.




                                                 89
Case 2:24-cv-00218-LEW            Document 1        Filed 06/20/24      Page 90 of 105         PageID #:
                                                   90



          311.    Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.

          312.    Chapter 133 of the Wisconsin Statutes governs trust and monopolies, with the

intent “to safeguard the public against the creation or perpetuation of monopolies and to foster

and encourage competition by prohibiting unfair and discriminatory business practices which

destroy or hamper competition.” WIS. STAT. § 133.01.

          313.    Plaintiff and/or members of the Class purchased retail gasoline within the State of

Wisconsin during the Class Period. But for Defendants’ conduct set forth, the price of retail

gasoline would have been lower, in an amount to be determined at trial.

          314.    Under Wisconsin law, indirect purchasers have standing under the antitrust

provisions of the Wisconsin Statutes to maintain an action based on the facts alleged in this

Complaint. See WIS. STAT. § 133.18(1)(a).

          315.    Defendants contracted, combined or conspired in restraint of trade or commerce

of oil, with the intention of injuring or destroying competition, in violation of WIS. STAT. §

133.01, et seq.

          316.    Plaintiff and/or members of the Class were injured with respect to purchases of

Defendants’ oil in Wisconsin in that the actions alleged herein substantially affected the people

of Wisconsin, with at least thousands of consumers in Wisconsin paying substantially higher

prices for retail gasoline in Wisconsin.

          317.    Accordingly, Plaintiff and members of the Class are entitled to all forms of relief,

including actual damages, treble damages, costs and reasonable attorneys’ fees, and injunctive

relief.

          VIOLATIONS OF STATE UNFAIR AND TRADE PRACTICES LAWS




                                                   90
Case 2:24-cv-00218-LEW          Document 1       Filed 06/20/24      Page 91 of 105         PageID #:
                                                91



       318.    Plaintiff incorporates and realleges, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

       319.    Defendants’ above-described scheme and conduct constitutes unfair competition,

unconscionable conduct, and deceptive acts and practices in violation of the state consumer

protection statutes set forth below. As a direct and proximate result of Defendants’

anticompetitive, deceptive, unfair, and/or unconscionable acts or practices, Plaintiff and the

members of the Class paid higher prices for Defendants’ oil than they should have.

       320.    The gravity of harm from Defendants’ wrongful conduct significantly outweighs

any conceivable utility from that conduct. Plaintiff and members of the Class could not

reasonably have avoided injury from Defendants’ wrongful conduct.

       321.    Plaintiff and members of the Class purchased goods, namely retail gasoline,

primarily for personal, family, or household purposes.

       322.    There was and is a gross disparity between the price that Plaintiff and the

members of the Class paid for retail gasoline and the value they received.

       323.    The following claims for relief are pleaded under the consumer protection or

similar laws of each State or jurisdiction identified below, on behalf of Plaintiff and members of

the Class.

                  Count XXXI: Violation of California’s Unfair Competition Law,
                       Cal. Bus. & Prof. Code § 17200, et seq. (the “UCL”)

       324.    Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.

       325.    The violations of federal antitrust law set forth above also constitute violations of

Section 17200, et seq. of the California Business and Professions Code.




                                                 91
Case 2:24-cv-00218-LEW           Document 1        Filed 06/20/24      Page 92 of 105       PageID #:
                                                  92



       326.    Defendants have engaged in unfair competition or unfair, unconscionable,

deceptive or fraudulent acts or practices in violation of the UCL by engaging in the acts and

practices specified above.

       327.    This claim is instituted pursuant to Sections 17203 and 17204 of the California

Business and Professions Code, to obtain restitution from these Defendants for acts, as alleged

herein, that violated the UCL.

       328.    Defendants’ conduct as alleged herein violated the UCL. The acts, omissions,

misrepresentations, practices, and non-disclosures of Defendants, as alleged herein, constituted a

common, continuous, and continuing course of conduct of unfair competition by means of unfair,

unlawful, and/or fraudulent business acts or practices within the meaning of the UCL, including,

but not limited to, the violations of Section 16720, et seq., of California Business and Professions

Code, set forth above.

       329.    Defendants’ acts, omissions, misrepresentations, practices, and non-disclosures,

as described above, whether or not in violation of Section 16720, et seq., of the California

Business and Professions Code, and whether or not concerted or independent acts, are otherwise

unfair, unconscionable, unlawful or fraudulent.

       330.    Plaintiff and members of the Class are entitled to, inter alia, full restitution and/or

disgorgement of all revenues, earnings, profits, compensation, and benefits that may have been

obtained by defendants as a result of such business acts or practices.

       331.    The illegal conduct alleged herein is continuing and there is no indication that

Defendants will not continue such activity into the future.

       332.    The unlawful and unfair business practices of Defendants, and each of them, as

described above, have caused and continue to cause members of the Class to pay supra-




                                                  92
Case 2:24-cv-00218-LEW            Document 1        Filed 06/20/24     Page 93 of 105          PageID #:
                                                   93



competitive and artificially-inflated prices for retail gasoline sold in the State of California.

Plaintiff and the members of the Class suffered injury in fact and lost money or property as a

result of such unfair competition.

               Count XXXII: Violation of the District of Columbia Consumer Protection
                                      Procedures Act,
                                    D.C. Code § 28-3901, et seq.

        333.      Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.

        334.      Plaintiff and members of the Class purchased retail gasoline for personal, family,

or household purposes.

        335.      By reason of the conduct alleged herein, Defendants have violated D.C. CODE §

28-3901, et seq.

        336.      Defendants are “merchants” within the meaning of D.C. CODE § 28- 3901(a)(3).

        337.      Defendants’ conduct was an unfair method of competition, and an unfair or

deceptive act or practice within the conduct of commerce within the District of Columbia.

Defendants’ unlawful conduct substantially affected the District of Columbia’s trade and

commerce.

        338.      As a direct and proximate cause of Defendants’ unlawful conduct, Plaintiff and

members of the Class have been injured in their business or property and are threatened with

further injury.

        339.      By reason of the foregoing, Plaintiff and members of the Class are entitled to seek

all forms of relief, including treble damages or $1500 per violation (whichever is greater) plus

punitive damages, reasonable attorney’s fees and costs under D.C. CODE § 28-3901, et seq.

           Count XXXIII: Violation of Florida Deceptive and Unfair Trade Practices Act,
                                  Fla. Stat. § 501.201(2), et seq.



                                                   93
Case 2:24-cv-00218-LEW          Document 1          Filed 06/20/24    Page 94 of 105        PageID #:
                                                   94




       340.    Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.

       341.    The Florida Deceptive & Unfair Trade Practices Act, Fla. Stat. § 501.201, et seq.

(the “FDUTPA”), generally prohibits “unfair methods of competition, unconscionable acts or

practices, and unfair or deceptive acts or practices in the conduct of any trade or commerce,”

including practices in restraint of trade. FLA. STAT. § 501.204(1).

       342.    The primary policy of the FDUTPA is “[t]o protect the consuming public and

legitimate business enterprises from those who engage in unfair methods of competition, or

unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or commerce.”

FLA. STAT. § 501.202(2).

       343.    A claim for damages under the FDUTPA has three elements: (1) a prohibited

practice; (2) causation; and (3) actual damages.

       344.    Under Florida law, indirect purchasers have standing to maintain an action under

the FDUTPA based on the facts alleged in this complaint. See FLA. STAT. § 501.211(1)

(“anyone aggrieved by a violation of this [statute] may bring an action . . .”).

       345.    Plaintiff and members of the Class purchased retail gasoline within the State of

Florida during the Class Period. But for Defendants’ conduct set forth herein, the price of retail

gasoline would have been lower, in an amount to be determined at trial.

       346.    Defendants’ unlawful conduct substantially affected Florida’s trade and

commerce.

       347.    As a direct and proximate cause of Defendants’ unlawful conduct, Plaintiff and

the members of the Class have been injured in their business or property by virtue of overcharges

for retail gasoline and are threatened with further injury.



                                                   94
Case 2:24-cv-00218-LEW            Document 1        Filed 06/20/24     Page 95 of 105          PageID #:
                                                   95



        348.      By reason of the foregoing, Plaintiff and the members of the Class are entitled to

seek all forms of relief, including injunctive relief pursuant to Fla. Stat. § 501.208 and

declaratory judgment, actual damages, reasonable attorneys’ fees and costs pursuant to FLA.

STAT. § 501.211.

               Count XXXIV: Violation of the Massachusetts Consumer Protection Act,
                              Mass. Gen. Laws Ch. 93A § 1, et seq.

        349.      Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.

        350.      By reason of the conduct alleged herein, including the violation of federal

antitrust laws, Defendants have violated the Massachusetts Consumer Protection Act, MASS.

GEN. LAWS ch. 93A § 2, et seq.

        351.      Plaintiff and members of the Class purchased retail gasoline within the

Commonwealth of Massachusetts during the Class Period. But for Defendants’ conduct set forth

herein, the price paid would have been lower, in an amount to be determined at trial.

        352.      Defendants’ conduct was an unfair method of competition, and an unfair or

deceptive act or practice within the conduct of commerce within the Commonwealth of

Massachusetts.

        353.      Defendants’ unlawful conduct substantially affected Massachusetts’ trade and

commerce.

        354.      Plaintiff and members of the Class purchased goods, namely retail gasoline,

primarily for personal, family, or household purposes.

        355.      As a direct and proximate cause of Defendants’ unlawful conduct, Plaintiff and

the members of the Class have been injured in their business or property and are threatened with

further injury.



                                                   95
Case 2:24-cv-00218-LEW          Document 1       Filed 06/20/24      Page 96 of 105         PageID #:
                                                96



       356.    By reason of the foregoing, Plaintiff and members of the Class are entitled to seek

all forms of relief, including up to treble damages and reasonable attorney’s fees and costs under

Massachusetts General Laws ch. 93A § 9.

       357.    The demand letter requirement of Section 9 of Massachusetts General Laws

Annotated Chapter 93A does not apply as to Defendants because, upon information and belief,

Defendants have not identified a place of business or assets within Massachusetts.

          Count XXXV: Violation of the Montana Unfair Trade Practices and Consumer
                                Protection Act of 1970,
                   Mont. Code § 30-14-103, et seq., and § 30-14-201, et seq.

       358.    Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.

       359.    Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the Montana Unfair Trade Practices and Consumer

Protection Act of 1970, MONT. CODE, §§ 30-14-103, et seq., and 30-14-201, et seq.

       360.    Defendants’ unlawful conduct had the following effects: (1) retail gasoline prices

were raised, fixed, maintained, and stabilized at artificially high levels throughout Montana; (2)

Plaintiff and members of the Class were deprived of free and open competition; and (3) Plaintiff

and members of the Class paid supracompetitive, artificially inflated prices for retail gasoline.

       361.    Plaintiff and members of the Class purchased goods, namely retail gasoline,

primarily for personal, family, or household purposes.

       362.    During the Class Period, Defendants’ illegal conduct substantially affected

Montana commerce and consumers.

       363.    As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff and

members of the Class have been injured and are threatened with further injury. Defendants have




                                                 96
Case 2:24-cv-00218-LEW            Document 1        Filed 06/20/24     Page 97 of 105          PageID #:
                                                   97



engaged in unfair competition or unfair or deceptive acts or practices in violation of MONT.

CODE, §§ 30 14-103, et seq., and 30-14-201, et seq., and, accordingly, Plaintiff and members of

the Class seek all relief available under that statute.

                   Count XXXVI: Violation of the Nebraska Consumer Protection Act,
                                  Neb. Rev. Stat. § 59-1602, et seq.

        364.      Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.

        365.      By reason of the conduct alleged herein, Defendants have violated NEB. REV.

STAT. § 59-1602, et seq.

        366.      Under Nebraska law, indirect purchasers have standing to maintain an action

under the Nebraska Consumer Protection Act based on the facts alleged in this Complaint. See

NEB. REV. STAT. § 59-1609.

        367.      Defendants’ conduct was unfair, unconscionable, or deceptive within the conduct

of commerce within the State of Nebraska.

        368.      Defendants’ conduct had a direct or indirect impact upon Plaintiff’s and members

of the Class’ ability to protect themselves.

        369.      Defendants’ unlawful conduct substantially affected Nebraska’s trade and

commerce.

        370.      As a direct and proximate cause of Defendants’ unlawful conduct, Plaintiff and

the members of the Class have been injured in their business or property and are threatened with

further injury.

        371.      By reason of the foregoing, Plaintiff and members of the Class are entitled to seek

all forms of relief available under NEB. REV. STAT. § 59-1614.




                                                   97
Case 2:24-cv-00218-LEW            Document 1        Filed 06/20/24     Page 98 of 105          PageID #:
                                                   98



                  Count XXXVII: Violation of the Nevada Deceptive Trade Practices Act,
                                  Nev. Rev. Stat. § 598.0903, et seq.

        372.      Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.

        373.      By reason of the conduct alleged herein, Defendants have violated Nev. Rev. Stat.

§ 598.0903, et seq.

        374.      Defendants’ conduct was unfair, unconscionable, or deceptive within the conduct

of commerce within the State of Nevada.

        375.      Defendants’ conduct amounted to a fraudulent act or practice committed by a

supplier in connection with a consumer transaction.

        376.      Defendants’ unlawful conduct substantially affected Nevada’s trade and

commerce.

        377.      Defendants’ conduct was willful.

        378.      As a direct and proximate cause of Defendants’ unlawful conduct, Plaintiff and

members of the Class have been injured in their business or property and are threatened with

further injury.

        379.      By reason of the foregoing, Plaintiff and members of the Class is entitled to seek

all forms of relief, including damages, reasonable attorneys’ fees and costs, and a civil penalty of

up to $5,000 per violation under NEV. REV. STAT. § 598.0993.

             Count XXXVIII: Violation of the New Hampshire Consumer Protection Act,
                        N.H. Rev. Stat. Ann. tit. XXXI § 358-A:1, et seq.

        380.      Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.




                                                   98
Case 2:24-cv-00218-LEW            Document 1        Filed 06/20/24     Page 99 of 105          PageID #:
                                                   99



        381.      By reason of the conduct alleged herein, defendants have violated N.H. REV.

STAT. tit. XXXI, § 358-A:1, et seq.

        382.      Under New Hampshire law, indirect purchasers have standing to maintain an

action under the New Hampshire Consumer Protection Act based on the facts alleged in this

Complaint. See LaChance v. U.S. Smokeless Tobacco Co., 156 N.H. 88, 92-100 (2007).

        383.      Defendants’ conduct was unfair or deceptive within the conduct of commerce

within the State of New Hampshire.

        384.      Defendants’ conduct was willful and knowing.

        385.      Defendants’ conduct had a direct or indirect impact upon Plaintiff’s and members

of the Class’ ability to protect themselves.

        386.      Defendants’ unlawful conduct substantially affected New Hampshire’s trade and

commerce.

        387.      As a direct and proximate cause of Defendants’ unlawful conduct, Plaintiff and

the members of the Class have been injured in their business or property and are threatened with

further injury.

        388.      By reason of the foregoing, Plaintiff and the members of the Class are entitled to

seek all forms of relief available under New Hampshire Revised Statutes §§ 358-A:10 and 358-

A:10-a.

                    Count XXXIX: Violation of the New Mexico Unfair Practices Act,
                                 N.M. Stat. Ann. § 57-12-1, et seq.

        389.      Plaintiff incorporates each allegation in the preceding paragraphs of this

Complaint.

        390.      By reason of the conduct alleged herein, Defendants have violated N.M. STAT. §

57-12-3, et seq.



                                                   99
Case 2:24-cv-00218-LEW             Document 1       Filed 06/20/24      Page 100 of 105         PageID #:
                                                   100



         391.      Defendants’ conduct was unfair, unconscionable, or deceptive within the conduct

 of commerce within the State of New Mexico.

         392.      Defendants’ unlawful conduct substantially affected New Mexico’s trade and

 commerce.

         393.      Defendants’ conduct constituted “unconscionable trade practices” in that such

 conduct, inter alia, resulted in a gross disparity between the value received by Plaintiff and

 members of the Class and the price paid by them for Defendants’ oil as set forth in N.M. STAT.

 § 57- 12-2E.

         394.      Defendants’ conduct was willful.

         395.      As a direct and proximate cause of Defendants’ unlawful conduct, Plaintiff and

 the members of the Class have been injured in their business or property and are threatened with

 further injury.

         396.      By reason of the foregoing, Plaintiff and members of the Class are entitled to seek

 all forms of relief, including actual damages or up to $300 per violation, whichever is greater,

 plus reasonable attorney’s fees under N.M. STAT. § 57-12-10.

                Count XXXX: Violation of the North Carolina Unfair and Deceptive Trade
                                         Practices Act,
                                   N.C. Gen. Stat. § 75-1.1, et seq.

         397.      Plaintiff incorporates each allegation in the preceding paragraphs of this

 Complaint.

         398.      By reason of the conduct alleged herein, Defendants have violated N.C. Gen. Stat.

 § 75-1.1, et seq. Under North Carolina law, indirect purchasers have standing to maintain an

 action based on the facts alleged in this Complaint. See Hyde v. Abbott Labs., Inc., 123 N.C.

 App. 572, 584 (1996).




                                                   100
Case 2:24-cv-00218-LEW           Document 1       Filed 06/20/24      Page 101 of 105         PageID #:
                                                 101



        399.     Defendants’ conduct was unfair, unconscionable, or deceptive within the conduct

 of commerce within the State of North Carolina.

        400.     Defendants’ trade practices are and have been immoral, unethical, unscrupulous,

 and substantially injurious to consumers.

        401.     Defendants’ unlawful conduct substantially affected North Carolina’s trade and

 commerce.

        402.     Defendants’ conduct constitutes consumer-oriented deceptive acts or practices

 within the meaning of North Carolina law, which resulted in consumer injury and broad adverse

 impact on the public at large and harmed the public interest of North Carolina consumers in an

 honest marketplace in which economic activity is conducted in a competitive manner.

        403.     As a direct and proximate cause of Defendants’ unlawful conduct, the Plaintiff

 and the members of the Class have been injured in their business or property and are threatened

 with further injury.

        404.     By reason of the foregoing, Plaintiff and the members of the Class are entitled to

 seek all forms of relief, including treble damages under N.C. GEN. STAT. § 75-16.

              Count XXXXI: Violation of the Rhode Island Deceptive Trade Practices Act,
                                 R.I. Gen. Laws § 6-13-1.1, et seq.

        405.     Plaintiff incorporates each allegation in the preceding paragraphs of this

 Complaint.

        406.     By reason of the conduct alleged herein, Defendants have violated R.I. GEN.

 LAWS § 6-13.1-1, et seq.

        407.     Defendants engaged in an unfair or deceptive act or practice with the intent to

 injure competitors and consumers through supra-competitive profits.




                                                 101
Case 2:24-cv-00218-LEW             Document 1       Filed 06/20/24      Page 102 of 105         PageID #:
                                                   102



         408.      Defendants’ conduct was unfair or deceptive within the conduct of commerce

 within the State of Rhode Island.

         409.      Defendants’ conduct amounted to an unfair or deceptive act or practice committed

 by a supplier in connection with a consumer transaction.

         410.      Defendants’ unlawful conduct substantially affected Rhode Island’s trade and

 commerce.

         411.      Defendants’ conduct was willful.

         412.      Plaintiff and members of the Class purchased goods, namely retail gasoline,

 primarily for personal, family, or household purposes.

         413.      As a direct and proximate cause of Defendants’ unlawful conduct, Plaintiff and

 members of the Class have been injured in their business or property and are threatened with

 further injury.

         414.      By reason of the foregoing, Plaintiff and members of the Class are entitled to seek

 all forms of relief, including actual damages or $200 per violation, whichever is greater, and

 injunctive relief and punitive damages under R.I. GEN. LAWS § 6-13.1-5.2.

              Count XXXXII: Violation of the South Carolina Unfair Trade Practices Act,
                                 S.C. Code Ann. § 39-5-10, et seq.

         415.      Plaintiff incorporates each allegation in the preceding paragraphs of this

 Complaint.

         416.      By reason of the conduct alleged herein, Defendants have violated S.C. CODE

 ANN. § 39-5-10, et seq.

         417.      Defendants’ conduct was unfair or deceptive within the conduct of commerce

 within the State of South Carolina. Defendants’ conduct had a direct or indirect impact upon

 Plaintiff’s and members of the Class’ ability to protect themselves.



                                                   102
Case 2:24-cv-00218-LEW          Document 1       Filed 06/20/24      Page 103 of 105         PageID #:
                                                103



        418.    Defendants’ unlawful conduct substantially affected South Carolina trade and

 commerce.

                   Count XXXXIII: Violation of the Vermont Consumer Fraud Act,
                            Vt. Stat. Ann. Tit. 9, Ch. 63 § 2451, et seq.

        419.    Plaintiff incorporates each allegation in the preceding paragraphs of this

 Complaint.

        420.    By reason of the conduct alleged herein, Defendants have violated VT. STAT.

 ANN. tit. 9, § 2451, et seq.

        421.    Title 9 of the Vermont Statutes generally governs commerce and trade in

 Vermont. Chapter 63 thereof governs consumer protection and prohibits, inter alia, unfair

 methods competition, unfair and deceptive acts and practices, and antitrust violations such as

 restraints of trade and monopolization. See VT. STAT ANN. tit. 9, § 2453(a).

        422.    Plaintiff and members of the Class purchased retail gasoline within the State of

 Vermont during the Class Period. But for Defendants’ conduct set forth herein, the price of retail

 gasoline would have been lower, in an amount to be determined at trial.

        423.    Under Vermont law, indirect purchasers have standing under the antitrust

 provisions of the Vermont Statutes to maintain an action based on the facts alleged in this

 complaint. VT. STAT. ANN. TIT. 9, § 2465(b); see also Elkins v. Microsoft Corp., 174 Vt. 328,

 341 (2002).

        424.    Defendants competed unfairly by restraining trade as set forth herein, in violation

 of VT. STAT. tit. 9, § 2453, et seq.

        425.    Defendants’ violations of Vermont law were flagrant.

        426.    Defendants’ conduct caused or was intended to cause unfair methods of

 competition within the State of Vermont.



                                                103
Case 2:24-cv-00218-LEW             Document 1       Filed 06/20/24       Page 104 of 105      PageID #:
                                                   104



         427.      Defendants’ unlawful conduct substantially affected Vermont’s trade and

 commerce.

         428.      As a direct and proximate cause of Defendants’ unlawful conduct, Plaintiff and

 the members of the Class have been injured in their business or property and are threatened with

 further injury.

         429.      Plaintiff and members of the Class were injured with respect to purchases of retail

 gasoline in Vermont and are entitled to all forms of relief, including actual damages, treble

 damages, and reasonable attorneys’ fees.

                                        PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, on behalf of himself and the proposed Classes, respectfully ask

 the Court for a judgment that:

         a.        Certifies the Classes pursuant to Fed. R. Civ. P. 23(a) and 23(b)(3) and
                   directs that reasonable notice of this action, as provided by Fed. R. Civ. P.
                   23(c)(2), be given to the Classes, and declares Plaintiff as representative of
                   the Classes;

         b.        Appoints Plaintiff and his attorneys as class representatives and class
                   counsel, respectively;

         c.        Enters judgment against Defendants, and in favor of Plaintiff and the
                   Class, holding Defendants liable for the antitrust violations alleged;

         d.        Awards a declaratory judgment that Defendants restraint of trade was done
                   for illegal, anticompetitive purposes, was an unreasonable restraint of
                   trade, and had anticompetitive effects on the U.S. market for oil in
                   violation of the Sherman Act, § 1.

         e.        Grants permanent injunctive relief:

                   i.     enjoining Defendants from engaging in future anticompetitive
                          conduct in the shale oil market; and

                   ii.    requiring Defendants to take affirmative steps to dissipate the
                          continuing effects of its prior unlawful conduct;




                                                    104
Case 2:24-cv-00218-LEW          Document 1        Filed 06/20/24      Page 105 of 105       PageID #:
                                                 105



        f.     Awards Plaintiff and the Class actual, double, treble, and exemplary
               damages as permitted and as sustained by reason of the antitrust violations
               alleged herein, plus interest in accordance with law;

        g.     Awards such equitable relief as is necessary to correct for the
               anticompetitive market effects caused by Defendant’s unlawful conduct,
               including disgorgement, restitution, and the creation of a constructive
               trust;

        h.     Awards Plaintiff and the Class their costs of suit, including reasonable
               attorneys’ fees as provided by law;

        i.     Directs such further relief as it may deem just and proper.


                                  DEMAND FOR JURY TRIAL

        Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury on all issues so triable.


 Dated: June 20, 2024

                                                       /s/ Kelly W. McDonald
                                                       Kelly W. McDonald
                                                       kmcdonald@mpmlaw.com
                                                       Richard O’Meara
                                                       romeara@mpmlaw.com
                                                       MURRAY, PLUMB & MURRAY
                                                       75 Pearl Street, P.O. Box 9785
                                                       Portland, ME 04104-5085
                                                       (207) 773-5651

                                                       Attorneys for Plaintiff and Proposed Class




                                                 105
